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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

IN RE:
GENERAL MOTORS LLC IGNITION SWITCH LITIGATION | Case No. 1:14-md-02543-
JMF
This Document Relates To
JOSEPH FLECK, INDIVIDUALLY AND AS Jury Trial Demanded
REPRESENTATIVE OF THE ESTATE OF TERESA FLECK
Together with all individuals whose names on feta oe
appear on the attached Exhibit “A” I) IE (C [is i \W/ aa in)
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PLAINTIFFS, | hi i
ae nw, HEE!
Vv. L | OCT 10 2014 ! U }
GENERAL MOTORS, LLC US.D.C.8.D. NY.
DEFENDANT. CASHIERS |

PLAINTIFFS’ ORIGINAL COMPLAINT

COME NOW the individuals listed on the attached and fully incorporated Exhibit A
(hereinafter “Named Plaintiffs”), through undersigned counsel, respectfully represent that:

I. PRELIMINARY STATEMENT

1. The Named Plaintiffs’ causes of action are brought solely against GENERAL
MOTORS, LLC (“New GM”). Plaintiffs do not assert any causes of action against General
Motors Corporation (“Old GM”).

2. Any references to General Motors Corporation, Old GM, or pre-sale order
conduct in this Complaint are (a) for background and reference purposes only; or (b) referenced
for the post-sale accidents resulting in personal injury and/or wrongful death claims, as asserted
by the Plaintiffs listed in Exhibit “A.” That is, under the June 26, 2009 Amended and Restated

Master Sale and Purchase Agreement wherein New GM acquired certain Old GM assets, New
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GM expressly assumed liability for post-sale accidents involving Old GM vehicles causing
personal injury, loss of life or property damage. New GM also acquired knowledge of Old GM’s
activities and the defective ignition switch via the mind of the employees, officers, managers,
books and records obtained and/or acquired as a result of the June 26, 2009 Amended and
Restated Master Sale and Purchase Agreement and subsequent Sale Order. Thus, the duties of
Old GM are part of the foundation for the liability assumed by New GM. Further, as identified
therein, the Named Plaintiffs have claims for post-sale accidents involving Old GM vehicles that
caused personal injury, loss of life or property damage and New GM is therefore expressly liable
to the Named Plaintiffs.

II. INTRODUCTION

3. At any given moment, an ignition switch in a wide variety of General Motors
vehicles could fail, killing or maiming countless individuals. The disastrous system failures in
GM vehicles are triggered by something as simple as a key chain on the vehicle’s key or a bump
in the road, as the ignition switch shifts from the “run” position into the “accessory/off” position,
with a corresponding reduction or loss of power. See March 11, 2014 Letter from New GM to
Ms. Nancy Lewis re: NHTSA Recall No. 14V-047, at 1 (“Until the recall repairs have been
performed, it is very important that customers remove all items from their key rings, leaving only
the vehicle key.”); see also New GM Safety Recall Notice (°Th[e] risk increases if your key ring
is carrying added weight (such as more keys or the key tob) or your vehicle experiences rough
road conditions or other jarring or impact related events.”). Yet, New GM also admits to its
customers that lightening the key chain may not help as “rough road conditions or other jarring
impact related events” could cause the vehicle to experience full loss of power, steering, braking

and air bag deployment. See Mar. 24, 2014 Letter from Senator Blumenthal to Attorney General
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Holder. Appropriately, the Old GM engineer who designed the ignition switch called it “the
switch from hell.” Report to the Board of Directors of General Motors Company Regarding
the Ignition Switch Recalls, authored by Anton R. Valukas of Jenner & Block (May 29, 2014)
(or "Valukas Report") at 5.

4. New GM’s refusal to honestly speak about the defective i gnition switch has gone
on too long—more than four and a half years since Old GM filed for bankruptcy. Throughout
that time, New GM knew of the life-threatening danger, and yet concealed the risk from drivers.
Considering both the time that Old GM discovered the ignition switch defect and the time that
New GM learned about it, thirteen years have passed. New GM belatedly admits that there has
been a death for every year of their collective silence. But a recent report suggests that the death
toll is exponentially higher than New GM admits, with the number actually in the hundreds. See
March 13, 2014 Letter from Center for Auto Safety to the Honorable David J. Friedman (“On
March 7, the Center for Auto Safety (CAS) wrote you about NHTSA’s failure to utilize its
Special Crash Investigations (SCI) of 2005 Cobalts and 2004 Ions and Early Warning Reports
(EWR) of death claims filed by GM to open a defect investigation and order a recall.
Examination of NHTSA’s Fatal Analysis Reporting System (F ARS) reveals 303 deaths of front
seat occupants in the recalled 2005-07 Cobalts and 2003-07 Ions where the airbag failed to
deploy in non-rear impact crashes.”). This new figure is drawn from data on only two of the six
recalled models, the Chevrolet Cobalt and Saturn Ion. The death toll is expected to increase
significantly as the full gamut of defective vehicles and incidents come to light.

5. Old GM remained silent in 2001 when it received evidence that there was a
problem with the now-recalled ignition switch in a pre-production Saturn [on.

6. Old GM remained silent in 2004, when two Old GM engineers reported that the
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[on’s ignition switch could accidently turn off if inadvertently hit by the driver’s knee. See
March 11, 2014 Letter from GM to Nancy Lewis re: NHTSA Recall No. 14V-047: see also GM
Recall Timeline. At that time, Old GM’s engineers reportedly considered several remedies to
increase torque in the key cylinder, but no action was taken “after consideration of the lead time
required, cost and effectiveness of each of these solutions.” See March | 1, 2014 Letter from GM
to Ms. Nancy Lewis re: NHTSA Recall No. 14V-047. Old GM remained silent throughout
2005, when it received numerous reports of its customers’ vehicles stalling, including a fatal
crash in which a Cobalt’s airbags did not deploy. A proposal to redesign the ignition key was
approved by Old GM, then cancelled for undisclosed reasons. Old GM sent its dealers a bulletin
instructing them to tell customers who complained of stalling to remove extra items from their
key chains. Old GM also developed a key insert to prevent the key ring from hanging so low,
but warranty records indicate that only 474 customers received one, compared to the more than
one million vehicles sold.

7. Old GM remained silent in 2006, when more than 30 complaints had been filed
with the National Highway Traffic Safety Administration (“NHTSA”) about unexpected
stopping and stalling—at least a dozen of these complaints involved the 2005 Chevrolet Cobalt.

8. Old GM remained silent in 2007, when it began tracking frontal-impact Cobalt
crashes with no airbag deployment and discovered that in four of ten of such incidents the
ignition was in “accessory” mode. Old GM also remained silent about the defects when it
elected to discontinue the Ion that same year, and when over 80 complaints about unexpected
stopping or stalling were filed with the NHTSA, including at least 30 involving the now-recalled
2005 Chevrolet Cobalt.

9, Old GM remained silent in 2008, when the NHTSA received 90 complaints about

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unexpected stopping or stalling for the now-recalled vehicles, including at least eight involving
the 2006 Chevrolet HHR.

10. Old GM remained silent in 2009, as the NHTSA complaint toll reached 120,
including at least one 2007 Chevrolet Cobalt.

11. | New GM remained silent in 2009 when Old GM employees, officers, and

managers with knowledge of the issue came to work for New GM.

12

New GM remained silent in 2009 when it acquired Old GM’s books and records
pursuant to the June 26, 2009 Amended and Restated Master Sale and Purchase Agreement and
subsequent Sale Order, which referenced and detailed the defective i gnition switch.

13. New GM remained silent in 2010, as the NHTSA complaint toll reached 170,
including at least thirty-five involving the 2006 Chevrolet Cobalt.

14. New GM remained silent in 2013 when a technical expert discovered that the
ignition switches in Ions and early-model Cobalts did not meet GM’s torque specifications.
Records reveal that Delphi Mechatronics provided Old GM with documents uncovering the 2006
ignition design change.

15, GM’s silence over the past thirteen years speaks volumes. It resounds with an
egregious and unprecedented failure to disclose a known defect, and reaches a crescendo of
complete and utter disregard for human life. And, just “[a]s we must account for every idle
word, so must we account for every idle silence.”! The time for silence is over.

Il. PARTIES
16. The Named Plaintiffs are those individuals listed on the attached Exhibit A, which

are incorporated herein as if set forth in extenso.

' Benjamin Franklin.
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17. The Named Plaintiffs assert claims against Defendant General Motors LLC for
personal injury and/or wrongful death stemming from post-sale accidents—that is, the accidents
in question occurred on or after July 10, 2009.

18. The Named Plaintiffs’ personal injury and/or wrongful death claims involve one
or more of the following GM vehicles: (a) the First Wave Defective Vehicles. consisting of
Chevrolet Cobalt (2005-2010 model years); Chevrolet HHR (2006-2011 model years); Pontiac
GS (2006-2007 model years); Pontiac Solstice (2006-2010 model years); Saturn Ions (2003-2007
model years); Saturn Sky (2007-2010 model years); and (b) the Second Wave Defective
Vehicles, consisting of Buick LaCrosse (2005-2009 model years); Buick Lucerne (2006-2011
model years); Buick Regal LS (2004-2005 model years); Buick Regal GS (2004-2005 model
years); Cadillac Deville (2000-2005 model years); Cadillac DTS (2004-2011 model years);
Cadillac CTS (2003-2014 model years); Cadillac SRX (2004-2006 model years); Chevrolet
Camaro (2010-2014 model years); Chevrolet Impala (2000-2014 model years); Chevrolet Monte
Carlo (2000-2008 model years); Chevrolet Malibu (1997-2005 model years); Oldsmobile
Intrigue (1998-2002 model years); Oldsmobile Alero (1999-2004 model years); Pontiac Grand
Am (1999-2005 model years); Pontiac Grand Prix (2004-2008 model years); Daewoo G2x
(2007-2009 model years); Opal GT (2007-2010 model years); Pontiac Pursuit (2005-2007 model
years); and Vauxhall GT (2007-2010 model years). The First Waver Defective Vehicles and the
Second Wave Defective Vehicles are collectively the “Defective Vehicles.”

19. Defendant General Motors, LLC (“New GM”), is a Delaware limited lability
company. On July 10, 2009, General Motors, LLC acquired substantially all of the assets and
assumed certain liabilities of General Motors Corporation by way of a Section 363 sale under

Chapter 11 of the Bankruptcy Code. New GM assumed specific liabilities of Old GM, who
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filed a voluntary petition for relief under Chapter 11 of the U.S. Bankruptcy Code on June 1,
2009. New GM acquired substantially all of Old GM’s employees, officers and management
personnel. New GM also acquired Old GM’s designs, tools, inventory, books, records, and its
key contracts, among other essential assets. The Named Plaintiffs’ causes of action in this
lawsuit are brought against New GM, and Plaintiffs do not assert any causes of action against
General Motors Corporation (“Old GM”).

20. Under the June 26, 2009 Amended and Restated Master Sale and Purchase
Agreement, New GM expressly assumed liability for post-sale accidents involving Old GM
vehicles causing personal injury, loss of life or property damages. The Named Plaintiffs listed in
Exhibit A have claims for post-sale accidents involving Old GM vehicles that caused personal
injury, loss of life or property damage, and New GM is therefore expressly liable to the Named
Plaintiffs.

21. New GM also expressly assumed certain liabilities of Old GM, including certain
statutory requirements:

From and after the Closing, Purchaser [New GM] shall comply with the
certification, reporting and recall requirements of the National Traffic and Motor
Vehicle Safety Act, the Transportation Recall Enhancement, Accountability and
Documentation Act, the Clean Air Act, the California Health and Safety Code and
similar Laws, in each case, to the extent applicable in respect of vehicles and
vehicle parts manufactured or distributed by Seller.

22. In addition, [New GM] expressly set forth that it:

shall be responsible for the administration, management and payment of all
Liabilities arising under (i) express written warranties of Sellers [General Motors
Corporation] that are specifically identified as warranties and delivered in
connection with the sale of new, certified used or pre-owned vehicles or new or
remanufactured motor vehicle parts and equipment (including service parts,

accessories, engines and transmissions) manufactured or sold by Sellers or
Purchaser prior to or after the Closing and (ii) Lemon Laws.
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23, At all times relevant to the claims in this lawsuit, Old GM and New GM were in
the business of developing, manufacturing, and marketing cars throughout the United States
generally, and specifically in each of the states of citizenship identified in Exhibit A. New GM
has a network of authorized retailers that sell its vehicles and parts throughout the United States,
New GM maintains its principal place of business at 300 Renaissance Center, Detroit, Michigan.

Il. JURISDICTION AND VENUE

24. Plaintiffs’ filing of this Complaint in this district does not alter the choice-of-law
analysis and does not constitute a waiver of any of Plaintiffs’ rights to transfer to another district
at the conclusion of pretrial proceedings in this case. Named Plaintiffs have filed this Complaint
in this district in order to advance the efficient and orderly resolution of claims arising from
Defendants’ conduct and its attendant nationwide devastating effects. At the conclusion of
pretrial proceedings in this case, each Named Plaintiff will be entitled to transfer of his or her
claim to the state of his or her residence as listed on the attached Exhibit A.

25, This Court has diversity jurisdiction over this action under 28 U.S.C. § 1332(a)
because the amount in controversy exceeds $75,000.00 and Named Plaintiffs are citizens of
different states than Defendant.

IV. FACTUAL BACKGROUND

A. General Background

26. An auto manufacturer should never make profits more important than safety and
should never conceal from consumers or the public any defects that exist in its vehicles. New
GM’s Vehicle Safety Chief, Jeff Boyer recently proclaimed that: “Nothing is more important than
the safety of our customers in the vehicles they drive.” GM Announces New Vehicle Safety

Chief, http://democrats.energycommerce. house. gov/sites/default/files/documents/Testimony-
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Barra-GM-Ignition-Switch-Recall-2014-4-l.pdf Yet New GM failed to live up to this
commitment. Appropriately, the Old GM engineer who designed the ignition switch called it
“the switch from hell.” Report to the Board of Directors of General Motors Company Regarding
the Ignition Switch Recalls, authored by Anton R. Valukas of Jenner & Block (May 29, 2014)
(or "Valukas Report") at 5.

27. The first priority of a car manufacturer should be to ensure that its vehicles are
safe, and particularly that its vehicles have operable ignition systems, airbags, power-steering,
power brakes, and other safety features that can prevent or minimize the threat of death or
serious bodily harm in a collision. In addition, a car manufacturer must take all reasonable steps
to ensure that, once a vehicle is running, it operates safely, and its critical safety systems (such as
engine control, braking, and airbag systems) work properly until such time as the driver shuts
down the vehicle. Moreover, a manufacturer that is aware of dangerous design defects that cause
its vehicles to shut down during operation, or its airbags not to deploy, must promptly disclose
and remedy such defects.

28. To date, GM has sold at least 15 million automobiles installed with defective
ignition switches which slip into the “accessory” or “off” position and turn off the engine
and the car’s vital engine systems without warning while the car is in motion. This ignition
switch defect disables the power steering and power brakes and prevents the deployment of
air bags in the vehicles.

B. GM's Knowledge of Safety-Related Defects and Its Concealment of those Defects

29. It has now come to light that the GM vehicles had safety related design defects that

were known by Old GM as early as 2001, and by New GM as a result of the acquired

knowledge from employees, officers, and managers and the books and records that New GM
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obtained and/or acquired as a result of the 2009 sale. During pre-production development of
the Ion in 2001, Old GM became aware of issues relating to its ignition switch “passlock”
system. Old GM’s 2001 internal report stated the problem included a “low detent plunger
force” in the ignition switch. In 2003, before the launch of the 2005 Cobalt, Old GM became
aware of incidents wherein the vehicle engine would suddenly lose power in the event the key
moved out of the “run” position when the driver inadvertently contacted the key or steering
column. An investigation of these issues was opened and, after consideration of the lead-time
required and the cost effectiveness of potential solutions, the investigation was closed with no
action taken.

30. The design of the ignition switch, position of the key lock module, and slot design
of the key are hereinafter referred to as the “Key System.”

31. In 2002, Old GM began manufacturing and selling 2003 Saturn Ions with the
defective Key System. It later began selling Chevrolet Cobalts with the same defective Key
System.

32. In 2004, Old GM engineers reported that the ignition switch on the Saturn lon was
so weak and so low on the steering column that a driver's knee could easily bump the key and
turn off the vehicle. This defect was sufficiently serious for an Old GM engineer, in January
2004, as part of Old GM's vehicle evaluation program, to affirmatively conclude, in writing,
that “[t]his is a basic design flaw and should be corrected if we want repeat sales.”

33. In 2004, Old GM began manufacturing and selling the 2005 Chevrolet Cobalt. The
Cobalt was a sister vehicle (essentially the same car with a different badge or name) of the
Saturn Ion. As noted, Old GM installed the same Key System on the 2005 Cobalt as it did on

the Saturn Ion.

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34, On October 29, 2004, around the time of Old GM’s market launch of the 2005
Cobalt, Gary Altman —- Old GM’s program-engineering manager for the Cobalt — test-drove
the Cobalt with the standard key and key fob. During the test drive, when Altman’s knee
bumped the key, the engine turned off, causing the engine to stall. Altman reported this incident
to GM.

35. In response to Altman’s report, Old GM launched an engineering inquiry to
investigate the potential for the key to move from the “run” to the “accessory/off” position
during ordinary driving conditions. This inquiry is known within GM as a Problem Resolution
Tracking System Inquiry (“PRTS”). The specific complaint which resulted in the PRTS was
that the “the vehicle can be keyed off with knee while driving.”

36. On February 1, 2005, as part of the PRTS, Old GM engineers concluded:

There are two main reasons that [sic] we believe can cause a lower

effort in turning the key: 1. A low torque detent in the ignition

switch. 2. A low position of the lock module in the column. (PRTS

— Complete Report N172404).
As part of the PRTS, Old GM engineers also began looking into ways to solve the problem of the
key moving from the “run” to the “accessory/off” position during ordinary driving.

37. On February 18, 2005, Old GM engineers presented several possible solutions to
the Cockpit Program Integration Team (“CPIT”). Old GM engineers determined the only “sure
solution” to resolve the problem of the key inadvertently moving from the “run” to the
“accessory/off” position required changing from a low mount to a high mount lock module,
which would considerably reduce the possibility of the key/key fob being impacted by a driver.
According to Old GM engineers, this change in the key position on the lock module, combined

with increasing the detent in the ignition switch, would be a “sure solution.” Old GM, however,
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through Altman, rejected this “sure solution,” in part, because the cost to implement the solution
would be too high.

38. During this PRTS, Old GM also considered changing the key from a slot to a hole
as a way to attempt to contain this problem, but not as a solution to the problem. Changing the
key from a slot to a hole would reduce the lever arm of the key and the key chain. With the slot
design, the key chain would hang lower on the key which would increase the torque force on the
ignition switch when the chain was contacted or moved in any way. Old GM engineers
determined this key change would significantly reduce the chance of the key inadvertently
moving from the “run” to the “accessory/off” position during ordinary driving maneuvers.

39. An Old GM engineer conducted a cost analysis of this key change and determined
that the cost to make this change would be less than one dollar per vehicle or around 57 cents per
part. Old GM, however, rejected this proposed key change and, on March 9, 2005, Old GM
closed the PRTS without taking any steps to fix the defective Key System in Ions and Cobalts.
The PRTS detailed the reasons why Old GM took no action.

Per GMX001 PEM's [Gary Altrnan] directive we are closing this
PRTS with no action. The main reasons are as follows: All
possible solutions were presented to CPIT and VAPTR: a. The
lead-time for all the solutions is too long. b. The tooling cost and
piece price are too high. c. None of the solutions seem to fully
countermeasure the possibility of the key being turned (ignition
turn off) during driving. Thus none of the solutions represents an
acceptable business case (emphasis added).

40. On February 28, 2005, Old GM issued a bulletin to its dealers regarding engine-
stalling incidents in 2005 Cobalts and 2005 Pontiac Pursuits (the Canadian version of the Pontiac

G5). The February 28, 2005 bulletin addressed the potential for drivers of these vehicles to

inadvertently turn off the ignition due to low key ignition cylinder torque/effort. In the February
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28, 2005 bulletin, Old GM provided the following recommendations/instructions to its dealers —
but not to the Named Plaintiffs or to the public in general:
There is potential for the driver to inadvertently turn off the
ignition due to low key ignition cylinder torque/effort. The concern
is more likely to occur if the driver is short and has a large heavy
key chain.
In the cases this condition was documented, the driver's knee
would contact the key chain while the vehicle was turning. The
steering column was adjusted all the way down. This is more likely
to happen to a person that is short as they will have the seat
positioned closer to the steering column.
In cases that fit this profile, question the customer thoroughly to
determine if this may be the cause. The customer should be
advised of this potential and to take steps, such as removing
unessential items from their key chains, to prevent it.
Please follow this diagnosis process thoroughly and complete each
step. If the condition exhibited is resolved without completing
every step, the remaining steps do not need to be performed.

4l. At that time, however, Old GM knew that the inadvertent turning off of the
ignition in the vehicles was due to design defects in the Key System in those vehicles, including
the Saturn Ion, and was not limited to short drivers using large heavy key chains. Simply stated,
as of February 2005, Old GM engineers knew that the Saturn Ion and Chevrolet Cobalt vehicles
had the Key System safety-related defects discussed in this Complaint. GM failed to disclose
and, in fact, concealed, the February 28, 2005 bulletin —- and/or the information contained
therein, from Saturn Jon and Chevrolet Cobalt owners, including the Named Plaintiffs, and sent
affirmative representations to dealers that did not accurately describe the nature of the problem,
the multiple design steps needed for a “sure solution” to the problem, and GM's knowledge of it.

42. Indeed, rather than disclosing this serious safety problem that uniformly affected

all Saturn Ion cars, GM, instead, concealed and obscured the problems, electing to wait until
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customers brought their cars to a dealership after an engine-stalling incident, and offered even its
own dealers only an incomplete, incorrect, and insufficient description of the defects and the
steps necessary to actually remedy them.

43, Under 49 C.F.R. § 573.6, GM was required to “furnish a report to the NHTSA for
each defect . . . related to motor vehicle safety.” Instead of complying with its legal obligations,
GM fraudulently concealed the Key System defect from the public — including Named
Plaintiffs — and continued to manufacture and sell Ions and Cobalts with these known safety
defects, causing the Named Plaintiffs to continue to own, operate or ride in vehicles that
contained defective and dangerous ignition switches.

44. In March 2005, following its receipt of a customer complaint that his/her Cobalt
vehicle ignition turned off while driving, Old GM opened another PRTS — Complete Report
(0793/2005-US). Steve Oakley, the brand quality manager for the Cobalt, originated the PRTS.
As part of the PRTS, Mr. Oakley reviewed an email dated March 9, 2005 from Jack Weber, an
Old GM engineer. The subject of the email was “Cobalt SS Ignition Turn Off.” In the email, Mr.
Weber stated:

I’ve had a chance to drive a Cobalt SS and attempt to turn off the
ignition during heel/toe down shifting. Much to my surprise, the first
time | turned off the ignition switch was during a normal traffic brake
application on 196, After that I was able to do a static reproduction of
the condition in a parking lot. I’ve attached photos of the condition
with comments. My Anthropometric

Measurements are attached below:
Static view of keys, fob and registration hitting knee.

Position of RKE fob during normal driving. Dynamic evaluation.
View of steering column cover and Pass Key 3+ “lump” under the
key slot.

Key in run position, knee contacting the fob and the split ring is
pulling on the key to move it to the “off” position. Static evaluation.
Fob has levered around the steering column cover and turned the
ignition off.

Unobstructed view of the fob and column cover.

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Attached below is documentation of a RAMSIS study performed
to attempt to duplicate the real world condition.
Please call at (586) 986-0622 with questions.

Jack Weber

Mr. Weber clearly identified the defects in the Key System while he was driving the Cobalt,
which is essentially the same vehicle as the Saturn Ion.

4S. Despite the clear evidence of the safety-related defect with the Key System,
during the March 2005 PRTS, Old GM engineers decided not to reconsider any of the proposed
solutions discussed during the February 2005 PRTS. Instead, the Old GM engineers leading the
PRTS recommended that the sole corrective action GM should recommend would be to advise
customers to remove excess material from their key rings. This recommendation was made
despite the fact that Old GM knew that the inadvertent turning off of the ignition in these
vehicles was due to design defects in the Key System, and was not limited to drivers having
excess key ring materials.

46, In May 2005, Old GM, following its receipt of another customer complaint that
the customer’s Cobalt ignition turned off while driving, opened another PRTS. During the May
2005 PRTS, Old GM decided to redesign the key in order to reduce the possibility that a driver
may inadvertently turn the key from the “run” to the “accessory/off” position during ordinary
driving.

47, Despite this initial safety/redesign commitment, however, Old GM ultimately
failed to follow through on its own decision and closed this PRTS without any action, further
concealing what it knew from the public and continuing to subject the public, including the
Named Plaintiffs, to the Defective Vehicles’ serious safety risks.

48. At or about this same time, Old GM, through Alan Adler, Old GM's Manager,

Product Safety Communications, issued the following statement with respect to the Chevrolet

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Cobalt’s inadvertent shut-off problems, affirmatively representing in its “Statement on
Chevrolet Cobalt Inadvertent Shut-offs” that:

In rare cases when a combination of factors is present, a Chevrolet

Cobalt driver can cut power to the engine by inadvertently bumping

the ignition key to the accessory or off position while the car is

running.

When this happens, the Cobalt is still controllable. The engine can be
restarted after shifting to neutral.

GM has analyzed this condition and believes it may occur when a

driver overloads a key ring, or when the driver's leg moves amid

factors such as steering column position, seat height and placement.

Depending on these factors, a driver can unintentionally turn the

vehicle off.

Service advisers are telling customers they can virtually eliminate this

possibility by taking several steps, including removing non-essential

material from their key rings.

Ignition systems are designed to have "on" and "off positions, and

practically any vehicle can have power to a running engine cut off by

inadvertently bumping the ignition from the run to accessory or off

position.

49, Old GM's statement, however, was demonstrably false and misleading. Old
GM’s internal testing documents showed that these incidents occurred when drivers were using
keys with the standard key fob. GM knew that these incidents were not caused by heavy key
chains or a driver’s size and seating position. GM also knew that removing the non-essential
material from key rings would not “virtually eliminate” the possibility of inadvertent bumping of
the ignition key from the “run” to the “accessory/off” position while the car was runnin g.
50. GM's above-referenced statement was further demonstrably false and misleading

because GM knew that these incidents were ultimately caused by the safety-related defects in the

Key System identified in the February 2005 PRTS. GM’s affirmative concealment of the

problems with the defective vehicles, including the Saturn Ion and Cobalt cars, did not end there.
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51. On July 29 2005, Amber Marie Rose (“Amber”), a sixteen-year-old Clinton,
Maryland resident, was driving a 2005 Cobalt when she drove off the road and struck a tree
head-on. Amber's driver’s side frontal airbag did not deploy and she died as a result of the
injuries she sustained in the crash.

52. Old GM received notice of Amber’s incident in September 2005 and shortly
thereafter opened an internal investigation file concerning the incident. During its investigation
of the incident, Old GM learned that the key in Amber’s Cobalt was in the “accessory/off”
position at the time of the crash. During its investigation, Old GM also knew that the driver's
side frontal airbag should have deployed given the circumstances of Amber’s crash. Upon
information and belief, Old GM subsequently entered into a confidential settlement agreement
with Amber’s mother.

53. In December 2005, shortly after it commenced its internal investigation into the
incident leading to Amber's death, Old GM issued a Technical Service Bulletin (05-02-35-007)
(the “TSB”). The TSB, which GM affirmatively represented applied to 2005-2006 Chevrolet
Cobalts, 2006 Chevrolet 1-11-1Rs, 2005-2006 Pontiac Pursuit, 2006 Pontiac Solstices, and 2003-
2006 Saturn Ions, provided, “Information on inadvertent Turning of Key Cylinder, Loss of
Electrical System and no DTCs,” provided the following service information:

There is potential for the driver to inadvertently turn off the ignition
due to low ignition key cylinder torque/effort.

The concern is more likely to occur if the driver is short and has a
large and/or heavy key chain. In these cases, this condition was
documented and the driver's knee would contact the key chain while
the vehicle was turning and the steering column was adjusted all the
way down. This is more likely to happen to a person who is short, as
they have the seat positioned closer to the steering column.

In cases that fit this profile, question the customer thoroughly to
determine if this may be the cause. The customer should be advised
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of this potential and should take steps to prevent it - such as
removing unessential items from their key chain.

Engineering has come up with an insert for the key ring so that it
goes from a “slot” design to a hole design. As a result, the key ring
cannot move up and down in the slot any longer - it can only rotate
on the hole. In addition, the previous key ring has been replaced
with a smaller, 13 mm (0.5 in) design. This will result in the keys
not hanging as low as in the past.

54. As with its prior statements regarding the Defective Vehicles, the information Old
GM provided in this TSB was also false and misleading. In the two PRTSs GM issued before it
issued the TSB, GM engineers never represented that short drivers or heavy key chains were the
reasons why these incidents were happening. Indeed, at the time it issued the TSB, Old GM
knew that these incidents were happening to drivers of all sizes using keys with the standard key
fobs. In other words, Old GM knew these incidents were not caused by short drivers with heavy
key chains, but were caused by the safety-related defects in the Key System of its Defective
Vehicles, including the Chevrolet Cobalt.

55. Not only did GM fail to address the safety defects, it covered-up and fraudulently
concealed the facts from the Named Plaintiffs and the driving public. One GM Quality Service
Manager, who drafted a TSB in connection with the ignition switch defects, stated “the
term ‘stall’ is a ‘hot? word that GM generally does not use in bulletins because it may raise a
concern about vehicle safety, which suggests GM should recall the vehicle, not issue a
bulletin.” Valukas Report at 92. GM personnel stated that “there was concern about the use of
‘stall’ ina TSB because such language might draw the attention of NHTSA.” Jd. at 93.

56. GM’s widespread cover-up and deception was brought to light in the Valukas
Report. Multiple GM employees confirmed that GM intentionally avoids using the word

“stall” “because such language might draw the attention of NHTSA” and “may raise a

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concern about safety, which suggests GM should recall the vehicle... .”. Even GM’s CEO,
Mary Barra, testified on June 18, 2014, before the United States House of Representatives
Committee on Energy and Commerce, Subcommittee on Oversight and Investigation, that
“we consider a stall to be a safety issue.”

57, In 2005, Old GM began buying back Cobalts from certain customers who were
experiencing engine stalling incidents. GM never told the public, including the Named Plaintiffs,
that it was buying back Cobalts under these circumstances. GM refused to buy back Cobalts
from other customers who had also experienced engine-stalling incidents. In fact, for many of
the customers who complained about experiencing engine-stalling incidents, GM never informed
these customers of the TSB and/or the availability of the key insert.

58. On November 17, 2005, shortly after Amber’s death and immediately before Old
GM’s issuance of the TSB, there was another incident involving a 2005 Cobalt in Baldwin,
Louisiana. In that incident, the Cobalt went off the road and hit a tree. The frontal airbags did not
deploy. Old GM received notice of this accident, opened a file, and referred to it as the "Colbert"
incident.

59, On February 10, 2006, in Lanexa, Virginia, shortly after Old GM issued the TSB,
a 2005 Cobalt drove off of the road and hit a light pole. As with the Colbert incident (above), the
frontal airbags failed to deploy. The download of the SDM (the vehicle’s “black box”) showed
the key was in the “accessory/off” position at the time of the crash. Old GM received notice of
this accident, opened a file, and referred to it as the “Carroll” incident.

60. On March 14, 2006, in Frederick, Maryland, a 2005 Cobalt traveled off the road

and struck a utility pole. The frontal airbags did not deploy. The download of the SDM showed
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the key was in the "accessory/off” position at the time of the crash. Old GM received notice of
this incident, opened a file, and referred to it as the “Oakley” incident.

61. On August 1, 2006, following its receipt of a customer complaint about a Cobalt
stalling while driving, Old GM opened yet another PRTS relating to this issue. Old GM closed
this PRTS on October 2, 2006 without taking any action.

62. In October 2006, Old GM updated the TSB (05-02-35-007) to include additional
model years: the 2007 Saturn Ion and Sky, 2007 Chevrolet HEIR, 2007 Cobalt and 2007 Pontiac
Solstice and Pontiac 05 vehicles. These vehicles had the same safety-related defects in the Key
System as the vehicles in the original TSB.

63. On December 29, 2006, in Sellenville, Pennsylvania, a 2005 Cobalt drove off the
road and hit a tree. The frontal airbags failed to deploy. Old GM received notice of this incident,
opened a file, and referred to it as the “Frei” incident.

64. On February 6, 2007, in Shaker Township, Pennsylvania, a 2006 Cobalt sailed off
the road and struck a truck. Despite there being a frontal impact in this incident, the frontal
airbags failed to deploy. The download of the SDM showed the key was in the “accessory/off”
position. Old GM received notice of this incident, opened a file, and referred to it as the “White”
incident.

65. On August 6, 2007, in Cross Lanes, West Virginia, a 2006 Cobalt rear-ended a
truck. The frontal airbags failed to deploy. Old GM received notice of this incident, opened a
file, and referred to it as the “McCormick” incident.

66. On September 25, 2007, in New Orleans, Louisiana, a 2007 Chevrolet Cobalt lost

contro] and struck a guardrail. Despite there being a frontal impact in this incident, the frontal

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airbags failed to deploy. Old GM received notice of this incident, opened a file, and referred to it
as the “Gathe” incident.

67, On October 16 2007, in Lyndhurst, Ohio, a 2005 Chevrolet Cobalt traveled off
road and hit a tree. The frontal airbags failed to deploy. Old GM received notice of this incident,
opened a file, and referred to it as the "Breen” incident.

68, On April 5, 2008, in Sommerville, Tennessee, a 2006 Chevrolet Cobalt traveled
off the road and struck a tree. Despite there being a frontal impact in this incident, the frontal
airbags failed to deploy. The download of the SDM showed the key was in the “accessory/off”
position. Old GM received notice of this incident, opened a file, and referred to it as the
“Freeman” incident.

69, On May 21, 2008, in Argyle, Wisconsin, a 2007 Pontiac G5 traveled off the road
and struck a tree. Despite there being a frontal impact in this incident, the frontal airbags failed to
deploy. The download of the SDM showed the key was in the “accessory/off” position. Old GM
received notice of this incident, opened a file, and referred to it as the “Wild” incident.

70. On May 28, 2008, in Lufkin, Texas, a 2007 Chevrolet Cobalt traveled off the road
and struck a tree. Despite there being a frontal impact in this incident, the frontal airbags failed to
deploy. Old GM received notice of this incident, opened a file, and referred to it as the
“McDonald” incident.

71. On September 13, 2008, in Lincoln Township, Michigan, a 2006 Chevrolet Cobalt
traveled off the road and struck a tree. Despite there being a frontal impact in this incident, the
frontal airbags failed to deploy. Old GM received notice of this incident, opened a file, and

referred to it as the “Harding” incident.
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72. In 2008, in Rolling Hills Estates, California, a 2008 Chevrolet Cobalt traveled off
the road and hit a tree. Despite there being a frontal impact in this incident, the frontal airbags
failed to deploy. Old GM received notice of this incident, opened a file, and referred to it as the
“Dunn” incident.

73. On December 6, 2008, in Lake Placid, Florida, a 2007 Chevrolet Cobalt traveled
off the road and hit a utility pole. Despite there being a frontal impact in this incident, the frontal
airbags failed to deploy. The download of the SDM showed the key was in the “accessory/off”
position, Old GM received notice of this incident, opened a file, and referred to it as the
“Grondona” incident.

74. In February 2009, Old GM opened yet another PRTS with respect to the Defective
Vehicles — this time to investigate why the slot in the key in Cobalts allowed the key chain to
hang too low in the vehicles, as well as the inadvertent shutting off of the vehicles. Through this
PRTS, Old GM determined that changing the key from a slot to a hole would significantly reduce
the likelihood of the ignition switch inadvertently turning off.

75. In March 2009, Old GM approved of the design change in the key from the slot to
a hole. According to GM, this redesigned change was implemented in model year 2010
Chevrolet Cobalts. GM, however, chose not to provide these redesigned keys to the owners or
lessees of any of the vehicles implicated in the TSB, including the 2005 Cobalt

76. ‘The following timeline gives a short overview of some key points between 2004

and the present, as discussed above:

2005-2009

GM learns of 2010-2014

hundreds of field GM learns of more
2001-2004 reports of Key field reports of
GM learns System failures Key System
Key Systems and multiple failures and
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are defective. fatalities. additional fatalities.
2005 2009 2014
GM engineers’ GM declares and GM issues inadequate
proposed fix emerges from recall over 10 years
rejected; Amber bankruptcy after learning its
Rose dies after Key Systems are
airbag in Cobalt defective
fails to deploy
77. Throughout this time period, GM was selling the Defective Vehicles to consumers

for full price, and consumers were purchasing them believing that the vehicles were non-
defective, but all the while GM was concealing the extent and nature of the defects in the
Defective Vehicles.

Cc. Old GM's Marketing Represented to the Public that the Defective Vehicles Were
Safe.

78. In a section called “safety,” Old GM's Chevrolet website stated:

OUR COMMITMENT

Your family's safety is important to us. Whether it's a short errand
around town or a cross-country road trip, Chevrolet is committed to
keeping you and your family safe — from the start of your journey
to your destination. That's why every Chevrolet is designed with a
comprehensive list of safety and security features to help give you
peace of mind. Choose from the safety features below to learn more
about how they work, and which Chevy vehicles offer them.

79. Similarly, Old GM promoted its Saturn vehicle line on television with statements
like “Putting people first,” and “Saturn. People First.’ Saturn’s print ad campaign featured
advertisements like the following, which stated, among other things: “Need is where you begin.
In cars, it’s about things like reliability, durability and, of course, safety. That’s where we started

when developing our new line of cars.” In sum, in order to increase sales, Old GM touted the

safety of its vehicles. But, when the time came for the company to stay true to its words, GM did
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not disclose its knowledge about the dangerous Key System defects to its customers, including
the Named Plaintiffs.

D. Meet the New GM, Same as the Old GM
80. In 2009, GM declared bankruptcy and, weeks later, it emerged from bankruptcy.

Both before and after GM’s bankruptcy, the Key Systems in the Defective Vehicles continued to
fail and New GM, in all iterations, continued to conceal the truth.

81. On May 15, 2009, New GM again met with Continental AG, an airbag component
supplier, and requested that Continental download SDM data from a 2006 Chevrolet Cobalt
accident where the airbags failed to deploy.

82. On December 31, 2010, in Rutherford County, Tennessee, a 2006 Chevrolet
Cobalt traveled off the road and struck a tree. Despite there being a frontal impact in this
incident, the frontal airbags failed to deploy. The download of the SDM showed the key was in
the "accessory/off position. New GM received notice of this incident, opened a file, and referred
to it as the “Chansuthus” incident.

83. On December 31, 2010, in Harlingen, Texas, a 2006 Chevrolet Cobalt traveled off
the road and struck a curb. Despite there being a frontal impact in this incident, the frontal
airbags failed to deploy. New GM received notice of this incident, opened a file, and referred to
it as the “Najera” incident.

84. On March 22, 2011, Ryan Jahr, a New GM engineer, downloaded the SDM from
a Cobalt. The information from the SDM download showed that the key in that Cobalt turned
from the “run” to the “accessory/off” position 3 to 4 seconds before the crash.

85. On December 18, 2011, in Parksville, South Carolina, a 2007 Chevrolet Cobalt
traveled off the road and struck a tree. Despite there being a frontal impact in this incident, the

frontal airbags failed to deploy. The download of the SDM showed the key was in the

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“accessory/off” position. New GM received notice of this incident, opened a file, and referred to
it as the “Sullivan” incident.

86. These incidents are not limited to vehicles of model year 2007 and before.
According to New GM’s own investigation, there have been over 250 crashes involving 2008-
2010 GM vehicles in which the airbags failed to deploy.

87. In 2010, New GM began a formal investigation of the frontal airbag non-
deployment incidents in Chevrolet Cobalts and Pontiac GSs. GM subsequently elevated the
investigation to a Field Performance Evaluation (“FPE”).

88. In August 2011, New GM assigned Engineering Group Manager, Brian Stouffer
as the Field Performance Assessment Engineer (“FPAE”) to assist with the FPE investigation.

89. In Spring 2012, Stouffer asked Jim Federico, a high-level executive and chief
engineer at New GM, to oversee the FPE investigation. Federico was the “executive champion”
for the investigation to help coordinate resources for the FPE investigation.

90. In May 2012, New GM engineers tested the torque on the ignition switches for
2005-2009 Cobalts, 2007 and 2009 Pontiac 05s, 2006-2009 HHRs, and 2003-2007 Saturn Ion
vehicles in a junkyard. The results of these tests showed that the torque required to turn the
ignition switches in most of these vehicles from the “run” to the “accessory/off” position did not
meet GM’s minimum torque specification requirements. These results were reported to Stouffer
and other members of the FPE.

91. In September 2012, Stouffer requested assistance from a “Red X Team” as part of
the FPE investigation. The Red X Team was a group of engineers within New GM assigned to
find the root cause of the airbag non-deployments in frontal accidents involving GM vehicles. By

that time, however, it was clear that the root cause of the airbag non-deployments in a majority
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of the frontal accidents was the defective Key System. The Red X Team became involved in the
investigation shortly after Mr. Stouffer’s request.

92. During the field-performance-evaluation process, New GM determined that,
although increasing the detent in the ignition switch would reduce the chance that the key would
inadvertently move from the “run” to the “accessory/off’ position, it would not be a total
solution to the problem. Indeed, the New GM engineers identified several additional ways to
actually fix the problem. These ideas included adding a shroud to prevent a driver's knee from
contacting the key, modifying the key and lock cylinder to orient the key in an upward facing
orientation when in the run position, and adding a push button to the lock cylinder to prevent it
from slipping out of run. New GM rejected each of these ideas. New GM engineers understood
that the key fob may be impacted and pinched between the driver's knee and the steering column
which causes the key to be inadvertently turned from the run to accessory/off position. New GM
engineers understood that increasing the detent in the ignition switch would not be a total
solution to the problem. New GM engineers also believed that the additional changes to the Key
System (such as the shroud) were necessary to fix the defects with the Key System. The New
GM engineers clearly understood that increasing the detent in the ignition switch alone was not a
solution to the problem but New GM concealed — and continued to conceal — from the public
the nature and extent of the defects.

93, By 2012, Federico, Stouffer, and the remaining members of the Red X Team
knew that the Key System in the Saturn Ion, the Cobalt, and the G5 vehicles had safety-related
defects that would cause the key to move from the “run” to the “accessory/off’ position while
driving these vehicles. They also knew that when this happened the airbags would no longer

work in frontal crashes. Federico, Stouffer, and the other members of the Red X Team also

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understood that these safety-related defects had caused or contributed to numerous accidents
and multiple fatalities. Despite this knowledge, New GM chose to conceal this information from
the public, NHTSA, and the Named Plaintiffs.

94, In December 2012, in Pensacola, Florida, Ebram Handy, a New GM engineer,
participated in an inspection of components from Brooke Melton's Cobalt, including the ignition
switch. At that inspection, Handy, along with Mark Hood, a mechanical engineer retained by the
Meltons, conducted testing on the ignition switch from Brooke Melton’s vehicle, as well as a
replacement ignition-switch for the 2005 Cobalt.

95. At that inspection, Handy observed that the results of the testing showed that the
torque performance on the ignition switch from Brooke Melton’s Cobalt was well below GM’s
minimum torque performance specifications. Handy also observed that the torque performance
on the replacement ignition switch was significantly higher than the torque performance on the
ignition switch in Brooke Melton’s Cobalt.

96. In January 2013, Handy, in preparation for a Rule 30(b)(6) deposition, spoke with
several GM engineers, including DeGiorgio and Stouffer. At that time, Handy knew that, based
on the testing he had observed, the original ignition switch in the 2005 Cobalt failed to meet
GM's minimum torque performance specifications. New GM knew that an ignition switch that
did not meet its minimum torque performance requirements was a safety-related defect.

E. GM Recalls

97. On February 7, 2014, New GM, in a letter from Carmen Benavides, Director of
Product Investigations and Safety Regulations for New GM, notified the NHTSA that it was
conducting Recall No. 13454 for certain 2005-2007 model year Chevrolet Cobalts and 2007

model year Pontiac 05 vehicles. In its February 7, 2014, letter to NHTSA, New GM represented
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that as replacement ignition switches became available, GM would replace the ignition switches
on the Defective Vehicles.

98. On February 19, 2014, a request for timeliness query of General Motors' Safety
Recall 13454 was sent to the NHTSA. The timeliness query pointed out that GM had failed to
recall all of the vehicles with the defective ignition switches. The February 19, 2014 request for
timeliness query also asked the NHTSA to investigate GM’s failure to fulfill its legal obligation
to report the safety-related defects in the Defective Vehicles to the NHTSA within five days of
discovering the defect.

99. On February 24, 2014, New GM in a letter from Carmen Benavides, informed the
NHTSA it was expanding the recall to include 2006-2007 model year (MY) Chevrolet I-EHR
and Pontiac Solstice, 2003-2007 MY Saturn Ion, and 2007 MY Saturn Sky vehicles. GM
included an Attachment to the February 24, 2014 letter. In the Attachment, New GM, for the
first time, admitted that GM previously authorized a change in the ignition switch. Specifically,
New GM stated:

On April 26, 2006, the GM design engineer responsible for the Cobalt’s

ignition switch signed a document approving changes to the ignition switch

proposed by the supplier, Delphi Mechatronics. The approved changes

included, among other things, the use of a new detent plunger and spring that

increased torque force in the ignition switch. This change to the ignition switch

was not reflected in a corresponding change in the part number for the ignition

switch. GM believes that the supplier began providing the re-designed ignition

switch to GM at some point during the 2007 model year. (GM's February 24,

2014 letter).

100. New GM then produced documents in response to Congressional requests leading
up to the hearings on April 1 and 2, 2014. Among the documents produced by New GM is a
document titled, “GENERAL MOTORS COMMODITY VALIDATION SIGN-OFF,” dated

April 26, 2006. According to this document, Delphi had met all of the sign-off requirements in
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order to provide a new ignition switch for certain GM vehicles. New GM has acknowledged that
the ignition switch in the Cobalt was included in this design change. The design change included
a new detent plunger “to increase torque force in the switch.” DeGiorgio’s signature is on this
page as the GM authorized engineer who signed off on this change to the ignition switch. This
GM Commodity Validation Sign-Off shows that DeGiorgio repeatedly perjured himself during
his deposition on April 29, 2013. DeGiorgio perjured himself in order to fraudulently conceal
evidence from the Plaintiffs that GM had signed off on the change in the ignition switch so that
the Plaintiffs, and ultimately a jury, would never know that GM was changing the switches in
2007 and later model year Cobalts and concealing these changes. DeGiorgio perjured himself
when he signed the errata sheet confirming that all the testimony was true and accurate.

F. The Named Plaintiffs’ Specific Experiences.

101. The Named Plaintiffs incorporate each and every paragraph above as if fully set
forth herein. Each of the Named Plaintiffs listed in Exhibit A assert a loss of vehicular control
arising from an ignition switch defect of a GM vehicle resulting in the death and/or serious
personal injuries of the Plaintiffs listed in Exhibit A.

Vv. CLAIMS AGAINST GENERAL MOTORS, LLC BROUGHT BY ALL
PLAINTIFFS LISTED IN EXHIBIT A

COUNT I — Negligence, Gross Negligence, Recklessness

102. The Named Plaintiffs re-allege as if fully set forth, each and every allegation set
forth herein.

103. Under the June 26, 2009 Amended and Restated Master Sale and Purchase
Agreement wherein New GM acquired certain Old GM assets, New GM expressly assumed
liability for post-sale accidents involving Old GM vehicles causing personal injury, loss of life or

property damages. New GM also acquired knowledge of Old GM’s activities and the defective

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ignition switch via the mind of the employees, officers, managers, books and records obtained
and/or acquired as a result of the June 26, 2009 Amended and Restated Master Sale and Purchase
Agreement and subsequent Sale Order. Thus, the duties of Old GM are part of the foundation
for the liability assumed by New GM. Further, as identified therein, the Named Plaintiffs have
claims for post-sale accidents involving Old GM vehicles that caused personal injury, loss of life
or property damage and New GM is therefore expressly liable to the Named Plaintiffs.

104. Old GM and New GM owed Named Plaintiffs a duty to design, manufacture,
fabricate, assemble, inspect, market, distribute, sell, and/or supply products in such a way as to
avoid harm to persons using them such as Named Plaintiffs.

105. Old GM and New GM owed the Named Plaintiffs a duty to detect known safety
defects in GM vehicles.

106. Old GM and New GM owed the Named Plaintiffs a duty, once it discovered the
ignition switch defect, to provide thorough notice of the defect, including a warning that the
defective vehicles should not be driven until an appropriate repair procedure is developed and
performed.

107. Old GM and New GM owed the Named Plaintiffs a duty, once it discovered the
ignition switch defect, to ensure that an appropriate repair procedure was developed and made
available to drivers.

108. Old GM and New GM knew that their customers, such as the Named Plaintiffs.
expect that the company will employ all reasonable efforts to detect safety defects, warn drivers
of their existence, and develop and make available an appropriate repair procedure.

109. Old GM and New GM’s efforts to discover, provide notice of, and provide repair

procedures for safety related defects exist for the benefit of the Named Plaintiffs and other
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drivers of GM vehicles. Old GM and New GM was aware that by providing maintenance and
repair information and assistance, including through its authorized dealerships, Old GM and New
GM had a responsibility to the Named Plaintiffs and other drivers to take the reasonable
measures listed above.

110. By reason of New GM’s assumption of liability under the June 26, 2009
Amended and Restated Master Sale and Purchase Agreement for post-sale accidents involving
Old GM vehicles causing personal injury, loss of life or property damages, the failures of Old
GM described above that contributed to or were causally connected to the injuries sustained by
Named Plaintiffs were among the liabilities of Old GM assumed by New GM.

111. Independent of any failures by Old GM as described herein, between July 10.
2009 and March 2014, New GM breached its duties to the Named Plaintiffs by failing to provide
appropriate notice of and repair procedures for the ignition switch defect in the Named Plaintiffs’
vehicles. In doing so, New GM departed from the reasonable standard of care required of it.

112. It was foreseeable that if the New GM did not provide appropriate notice and
repair procedures for the defect, the Named Plaintiffs and other drivers would be endangered.

113. The Named Plaintiffs’ injuries were reasonably foreseeable to Old GM and New
GM.

114. The Named Plaintiffs could not through the exercise of reasonable diligence have
prevented the injuries caused by Old GM and New GM’s negligence and gross negligence.

115. Old GM and New GM’s acts and omissions, when viewed objectively from the
actor’s standpoint, involved an extreme degree of risk, considering the probability and magnitude
of the potential harm to others. Old GM and New GM nevertheless proceeded with conscious

indifference to the rights, safety and welfare of others.
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COUNT I - Fraud by Non Disclosure

116. The Named Plaintiffs re-allege as if fully set forth, each and every allegation set
forth herein.

117. As early as 2001, during pre-production development of the Saturn Ion, Old GM
became aware of issues relating to the ignition switch “passlock” system. The 2001 report stated
that the problem included a “low detent plunger force” in the ignition switch.

118. In 2003, before the launch of the 2005 Cobalt, Old GM became aware of incidents
wherein the vehicle engine would suddenly lose power in the event the key moved out of the
“run” position when the driver inadvertently contacted the key or steering column. An
investigation was opened and, after consideration of lead-time required and the cost and
effectiveness of potential solutions, the investigation was closed with no action taken.

119. As set forth above, from July 2009 to the present, New GM intentionally
concealed or failed to disclose material facts from the Plaintiff, the public, and NHTSA

120. Additionally, from its inception in 2009, New GM_ possessed independent
knowledge of the defects in the Named Plaintiffs’ vehicles and the need to undertake multiple
design steps to resolve those defects to prevent injury and economic harm to vehicle owners such
as Plaintiffs. This knowledge was based, in part, on the information from records, files, reports
and other documents and materials regarding the defective ignition switch maintained by Old
GM, all of which were included in the assets purchased by New GM during the bankruptcy sale.

121. Old GM had a duty to disclose the facts to the Named Plaintiffs and Old GM
knew: (1) that the Named Plaintiffs were ignorant of the material facts that New GM did not
disclose and/or intentionally concealed; and (2) the Named Plaintiffs did not have an equal

opportunity to discover the material facts that New GM did not disclose and/or intentionally

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concealed. Old GM’s fraud, fraudulent concealment and fraudulent non-disclosure were all
components of the subject incidents of the Named Plaintiffs. Because New GM expressly
assumed liability for post-sale accidents causing personal injury, loss of life or property damages,
New GM is liable to the Named Plaintiffs.

122. Specifically, under the June 26, 2009 Amended and Restated Master Sale and
Purchase Agreement wherein New GM acquired certain Old GM assets, New GM expressly
assumed liability for post-sale accidents involving Old GM vehicles causing personal injury, loss
of life or property damages. New GM also acquired knowledge of Old GM’s activities and the
defective ignition switch via the mind of the employees, officers, managers, books and records
obtained and/or acquired as a result of the June 26, 2009 Amended and Restated Master Sale and
Purchase Agreement and subsequent Sale Order. Thus, the duties of Old GM are part of the
foundation for the liability assumed by New GM. Further, as identified therein, the Named
Plaintiffs have claims for post-sale accidents involving Old GM vehicles that caused personal
injury, loss of life or property damage and New GM is therefore expressly liable to these
Plaintiffs.

123. By reason of New GM’s assumption of liability under the June 26, 2009
Amended and Restated Master Sale and Purchase Agreement for post-sale accidents involving
Old GM vehicles causing personal injury, loss of life or property damage, the failures of Old GM
described above that contributed to or were causally connected to the injuries sustained by
Named Plaintiffs were among the liabilities of Old GM assumed by New GM. Independent of
any failures by Old GM as described herein, between July 10, 2009 and March 2014, New GM
breached its duties to the Named Plaintiffs by failing to disclose knowledge of the defective

ignition switch to Named Plaintiffs.
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124, New GM had a duty to disclose the facts to the Named Plaintiffs and New GM
knew: (1) that the Named Plaintiffs were ignorant of the material facts that New GM did not
disclose and/or intentionally concealed; and (2) the Named Plaintiffs did not have an equal
opportunity to discover the material facts that New GM did not disclose and/or intentionally
concealed.

125. By failing to disclose these material facts, New GM intended to induce the Named
Plaintiffs to take some action or refrain from acting.

126. The Named Plaintiffs relied on New GM’s non-disclosure and they were injured
as a result of acting without knowledge of the undisclosed facts.

COUNT IV — Strict Liability

127. The Named Plaintiffs re-allege as if fully set forth, each and every allegation set
forth herein.

128. Old GM and New GM, at all times relevant to this action, were engaged in the
design, testing, manufacture, distribution, and sale of automobiles, including the subject
automobile.

129. The subject automobiles were expected to and did reach users and consumers
without substantial change in the condition in which it was sold.

130. The subject automobile was in a defective condition creating risk of harm to a
user or a consumer, including Named Plaintiffs.

131. The defects set forth herein caused the Named Plaintiffs’ injuries.

132. Under the June 26, 2009 Amended and Restated Master Sale and Purchase
Agreement wherein New GM acquired certain Old GM assets, New GM expressly assumed

liability for post-sale accidents involving Old GM vehicles causing personal injury, loss of life or

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property damage. As identified therein, the Named Plaintiffs have claims for post-sale accidents
involving Old GM vehicles that caused personal injury, loss of life or property damages and New
GM is therefore expressly liable to these Plaintiffs.

133. These injuries and losses were caused by New GM’s designing, manufacturing,
fabricating, assembling, inspecting, marketing, distributing, selling and/or supplying the subject
automobile in a defective condition for which it is strictly liable to the Named Plaintiffs pursuant
to Restatement (Second) of Torts § 402A. Alternatively, the injuries and losses were caused by
Old GM’s designing, manufacturing, fabricating, assembling, inspecting, marketing, distributing,
selling and/or supplying the subject automobile in a defective condition for which New GM is
strictly liable to the Named Plaintiffs pursuant to Restatement (Second) of Torts § 402A because
these liabilities were expressly assumed by New GM.

134. These injuries were caused by New GM’s designing, manufacturing, fabricating,
assembling, inspecting, marketing, distributing, selling and/or supplying the subject automobile
without proper and adequate warnings, instructions, and/or guidelines for safe use for which it is
strictly liable to the plaintiffs. Alternatively, these injuries were caused by Old GM’s designing,
manufacturing, fabricating, assembling, inspecting, marketing, distributing, selling and/or
supplying the subject automobile without proper and adequate warnings, instructions, and/or
guidelines for safe use for which New GM is strictly liable to the plaintiffs because these
liabilities were expressly assumed by New GM.

135. By reason of New GM’s assumption of liability under the June 26, 2009
Amended and Restated Master Sale and Purchase Agreement for post-sale accidents involving
Old GM vehicles causing personal injury, loss of life or property damage, the failures of Old GM

described above that contributed to or were causally connected to the injuries sustained by

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Named Plaintiffs were among the liabilities of Old GM assumed by New GM. Independent of
any failures by Old GM as described herein, between July 10, 2009 and March 2014. New GM
breached its duties owed to the Named Plaintiffs as described herein.
VI. DAMAGES
135. The Named Plaintiffs pray for damages against the Defendant in a sum of money
in excess of the jurisdictional amount of Seventy-Five Thousand Dollars ($75,000.00) plus costs
and any other such other relief to be deemed just and equitable to which they are entitled.

Vil. JURY DEMAND

136. The Named Plaintiffs request a trial by jury.
VU PRAYER

For the foregoing reasons, Named Plaintiffs pray that the Defendant be cited to appear
and answer herein, and that upon a final hearing of the cause, judgment be entered for the each
Plaintiff against Defendant for actual damages, as alleged, and exemplary damages: together
with pre-judgment interest (from the date of injury through the date of judgment) at the
maximum rate allowed by law: post-judgment interest at the legal rate, costs of court: and such
other and further relief to which Named Plaintiffs may be entitled at law or in equity.

Dated: October 10, 2014 Respectfully Submitted,

HILLIARD MuNoz GONZALES LLP

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IML y

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Federal ID No. 5912
bobh@hmglawtirm.com
Rudy Gonzales, Jr.
State Bar No. 08121700
Federal ID No. 1896
rudyg@hmeglawtirm.com

By:

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Federal ID No. 25316
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Texas Bar No. 24079195
Federal ID No. 1357491
marion@hmglawfirm.com

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Facsimile No.: (361) 882-3015

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Thomas J. Henry

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Federal ID No. 12980
thh@thlaw.com

Curtis W. Fitzgerald, I]
State Bar No. 24012626
Federal ID No. 24980
cfitzgerald@tjhlaw.com

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Facsimile No.: (361) 985-0601

ATTORNEYS FOR PLAINTIFFS
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Exhibit A

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No. Name of Plaintiff(s} Residency Car Type VIN # [incident Date] Accident City/State US Dist Court
Deat!
+ Fleck, Joseph Individually, and as 121 Railroad St., Windber, Pennsylvania Western District of
Representative of the Estate of Teresa Fleck |15963 United States 2007 Pontiac GS 1G2ZAL1SF477270174 11/9/12] Somerset, PA Pennsylvania
2 Gutierrez, Laura individually, and as
Representative of the Estate of Manuela 2056 E, Howe Ave, Tempe, Arizona 85281
Reyes Gutierrez United States 2004 Chevy Malibu 1G612Z7S2814F 201142 7/1/12) Chihuaha, CH District of Arizona
3 Gutierrez, Laura Individually, and as
Representative of the Estate of Marina 2056 E. Hawe Ave, Tempe, Arizona 85281
Granados United States 2004 Chevy Malibu 1G1ZT52814F 201142 7/1/12;iChihuaha, CH District of Arizona
4 Gutierrez, Laura individually, and as
Representative of the Estate af Remedio 2056 E, Howe Ave, Tempe, Arizona 85281
Gutierrez United States 2004 Chevy Malibu 1G12ZT52814F 201142 7/1/42) Chihuaha, CH District of Arizona
5 Harvey, Rory Individually, and as
Representative of the Estate of Valeria 315 Washington St., Aliquippa, Western District of
Harvey Pennsylvania 15001 United States 2005 Chevy Cobalt 1G1AK12F657604021 3/18/13]Aliquippa, PA Pennsylvania
6 Heishman, Franklin individually, and as
Representative of the Estate of Martha 7733 Ripperdan Valley Road SW, Central,
Heishman Indiana 47110 United States 2007 Chevy Cobalt 1G1AK18F367646770 9/30/14| Corydon, IN Southern District of Indiana
7 Kirby, Charlotte individually, and as
Representative of the Estate of Rosalene 1808 Kings Circle, Pell City, Alabama 35128
Smith United States 2005 Chevy Cobalt 1G1AL12F057630241 1/8/12)Pell City, AL Northern District of Alabama
Leveille, Kenneth individually, and as Next
8 Friend of Gavin Leveille, and as
Representative of the Estate of Megan 5355 Edmond Street, Apt 1033, Las Vegas,
Cheyne McMurtrey Nevada 89118 United States 2006 Chevy Cobalt AGIAZ5SF167766722 1/21/11 Lincoln County, NV District of Nevada
9 McCleve, Julia Individually, and as
Representative of the Estate of Amanda 436 N. Honeysuckle Ln., Gilbert, Arizona
McCleve 85234 United States 2008 Pontiac Solstice 1162MB35B48Y106041 9/1/11,{Camp Verde, AZ District of Arizona
10 Storck, LeAnn Individually, and as
Representative of the Estate of Donny W 5391 County Road 0, Medford, Western District of
Storck Wisconsin 54451 United States 2007 Chevy Cobalt 2G1AL15F377294311 4/22/10)Medford, WI Wisconsin
un Vindiola, Cecilia individually, and as
Representative of the Estate of Jade 5900 Shiner Drive, Fart Worth, Texas 76179
Quintana United States 2006 Chevy Cobalt 1G1AP11P767803673 1/24/14] Arlington, TX Northern District of Texas
injury
t2
10811 Mount Verde Lane, Houston, Texas
Adams, Donna 77099 United States 2007 Chevy HHR 3GNDA13D878613254 3/27/14) Rosenberg, TX Southern District of Texas
13 ,
4122 S. Dowfield Dr, Fayetteville, North Eastern District of North
Adams, Shanika Carolina 28311 United States 2007 Chevy Cobalt 1G1AK15F077151836 3/20/14/ Fayetteville, NC Carolina
14 .
122S Tidewater Dr. Apt 124, Norfolk,
Allen, Rachel Virginia 23504 United States 2008 Chevy Malibu 1G1AL15F477270700 3/3/12|Virginia Beach, VA Eastern District of Virginia
is .
13952 Northwest Meadowridge Dr.,
Allen, Zach Portland, Gregon 97229 United States 2006 Saturn jon 1G8AZ55P 267185431 8/15/13]Portland, OR District of Oregon
16
2569 7th Ave Apt 12E, New York, New York Southern Listrict of New
Amiker, Renal} 10039 United States 2004 Saturn lon 1GBAGS 2F142116883 9/17/12] Manhattan, NY York
7
53 Beeno Rd., New Stanton, Pennsylvania Western District of
Andzelik, Dolores 15672 United States 2008 Chevy Cobalt 1G1ALS8F18273770 9/2/13/Greensburg, PA Pennsylvania
18 .
3605 Marion Lane, Las Cruces, New Mexico
Arroyos, Estevan 88012 United States 2008 Pontiac GS 1G 2AL18F 287335665 4/20/13|Dona Ana, NM District of New Mexico
ig .
84 Pine Way Rd., Romney, West Virginia Northern District of West
Ayers, Darwin 26757 United States 2005 Chevy Cobalt IG1AK52F657546130 1/11/14/ Romney, WV Virginia
20
PO Box 671, Fairfax, South Carolina 29827
Badger, Patricia United States 2009 Chevy HHR 3GNCA23B295605556 5/3/13|Walterburo, SC District of South Carolina
21
Badger, Patricia Individually, and as Next PO Box 671, Fairfax, South Carolina 29827
Friend of Antonio Badger United States 2009 Chevy HHR 3GNCA23B 298605556 $/3/13|Walterburo, 8C District of South Carolina
22 .
922 State Street, Charlotte, North Carolina Western District of North
Bailey, April Monique 28208 United States 2004 Chevy impala 2GIWF2F52E 149224753 3/7/14| Charlotte, NC Carolina
23
HC 68 Box 934, Hanover, West Virginia Southern District of West
Bailey, Frances 24839 United States 2006 Chevy Cobalt 4G1AK15F1678409 28 9/1/13] Hanover, WV Virginia

*Named Plaintiffs state that but for the Order permitting direct filing into the Southern District of New York, they would have filed
in the district courts listed in this column.

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No. Name of Plaintiff(s) Residency Car Type VIN # incident Date| Accident City/State US Dist Court
24
Bailey, Frances Individually, and as Next HC 68 Box 934, Hanover, West Virginia Southern District of West
Friend of Whitney Bailey 24839 United States 2006 Chevy Cobait 1G1AK15F167840923 9/1/13] Hanover, WV Virginia
25 : < ;
4611 W 43rd St, Cleveland, Ohio 44101 Southern District of West
Baisden, Rebecca United States 2065 Saturn fon 1GBAM12FX52182707 12/12/13} Alderson, WV Virginia
26
1517 Mayflower Dr., Irving, Texas 785061
Bauman, Kendra United States 2010 Chevy Cobalt 1G1AB5FS3A7242426 3/15/14] Dallas, TX Northern District of Texas
27 .
Bauman, Kendra Individually, and as Next {1517 Mayflower Dr., irving, Texas 785061
Friend of Rori Banich United States 2010 Chevy Cobalt AG1ABSF53A7242426 3/15/14|Dallas, TX Northern District of Texas
28 .
36435 Iron Horse Drive, Palm Dale,
Baumann, Hoan: California 93550 United States 2007 Saturn Sky JM1BLIUG9C15 75788 4/26/13}Los Angeles, CA Central District of California
29 .
Beatty, Robert individually, and as Next $909 Walla, Fort Worth, Texas 76133
Friend of Mallory Paige Beatty United States 2006 Chevy Cobalt 1G1AM158467673200 1/7/14] Fort Worth, TX Northern District of Texas
30 -
1189 Desert Cove Drive, Pueblo, Colorado
Beauchamp, Troy 81007 United States 2008 Chevy Cobalt 1G1AK58F687304658 4/25/14] Pueblo, CO District of Colorado
31 .
517 Marquis Ave., Centralia, Hlinois 62801
Beckemeyer, Shannon United States 2008 Buick Enclave SGAEV23778)3131672 4/2/12)Salem, iL Southern District of illinois
32
PO Box 1024, Marshalls Creek, Pennsylvania Middle District of
Becker, Holly 18335 United States 2005 Chevy Cobalt 1G1AL125557661257 12/20/13}East Stroudsburg, PA Pennsylvania
33
506 Stewart Avenue, Glen Burnie, Maryland
Bladen, Bernard 21061 United States 2063 Saturn lon 1G8AG5 2F 432106363 8/21/12|Severn, MD District of Maryland
a4
509 Grandview Dr. # 136, Salem, Indiana
Blankenbaker, Rachael 47167 United States 2007 Pontiac Solstice |1G2MB35B27Y111432 9/8/13) Fort Pierce, FL Southern District of Florida
3S
40 County Road 686, Higson, Alabama
Blevins, Jason 35979 United States 2007 Chevy HHR 3GNDA33P079517124 5/18/13] Bridgeport, AL Northern District of Alabama
36 :
1020 Evans Way, Baltimore, Maryland
Borozzi, Vitoria 21205 United States 2005 Chevy Cobalt 1G1ALS$2F2657551998 11/9/13) Baltimore, MD District of Maryland
37 . /
8331 Whip O Will Lane, Irvington, Alabama Southern District of
Bosarge, Charles 36544 United States 2007 Chevy HHR 3GNDA13D275620376 3/17/14} Gulfport, MS Mississippi
38
630 Pugsley Ave. Apt 12H, Bronx, New York Southern District of New
Bost, Frances 10473 United States 2006 Saturn ion 1G8ALSBF 162196675 9/9/13] Bronx, NY York
39 . -
522 Fairways Drive, Titusville, Florida 32780
Boyland, Robert United States 2008 Chevy HHR 3GNDA13D385546810 11/15/11) Titusville, FL Middle District of Florida
4g
12000 Wanda Ave. Apt. 939, Cleveland,
Bradley, Marva Ohio 44135 United States 2006 Chevy Cobalt IG1AK15F167831887 3/8/14(Cleviand, OH Northern District of Ohio
41 . .
324 Leisure Cir, Pine Mountain, Georgia
Bradley, Wanda 31822 United States 2004 Saturn jon 1G8AIS52F042211145 11/18/13/ Lagrange, GA Northern District of Georgia
42
236 .N Sth Ave., Oakdale, California 95361
Briggs, Sidney United States 2006 Pontiac Solstice | 1g2mb35bx6y117493 1/25/14| Oakdale, CA Eastern District of California
43
4828 Luella Ave., North Charleston, South
Brown, Audra Carolina 29405 United States 2009 Chevy HHR 3GNCA13B295539441 11/1/11) North Charleston, $C District of South Carolina
44
12334 Boncrest Drive, Reisterstown,
Brown, Candice Maryland 21136 United States 2006 Chevy Cobalt 1G1AK15FX67645698 3/24/14/ Baltimore, MD District of Maryland
45
3987 Partmouth Lane, Santa Maria,
Brown, Eric California 93455 United States 2013 Chevy Camaro | 2G1FE1E24D9173884 9/8/13}Santa Barbara, CA Central District of California
46 *
205 Circle Hill Drive, Brandon, Florida 33510
Brown, Jessica United States 2003 Saturn ion LG8AN 1 2F 632179676 7/3/42; Brandon, FL Middle District of Florida

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No. Name of Plaintiff(s} Residency Car Type VIN # Incident Date| Accident City/State US Dist Court
ay :
902 Magnolia St., Refugio, Texas 78377
Brown, Manuel United States 2013 Chevy Impala 2GIWASEK1B1118444 §/1/13)|Corpus Christi, TX Southern District of Texas
48 .
P.O. BOX 1793, Bucksport, Maine 04416
Brown, Scott United States 2006 Saturn jon 1G8AIS8F462110281 §/23/13] Hollywood, FL Southern District of Florida
4g
806 W Canyon Court, Montgomery,
Brown, Travarion B Alabama 36110 United States 2007 Chevy Cobalt 1G1AK55F477107636 §/15/13| Prattville, AL Middle District of Alabama
50
4502 Estate Blvd. Apt.12, indianapolis,
Brummitt, Kenneth Indiana 46221 United States 2007 Chevy HHR 3GNDA23D978508535, 6/3/11|Geneva, OH Northern District of Ohio
51
PO BOX 473683, Aurora, Colorado 80047
Bucher, Patrick United States 2004 Saturn ton 1G8AM12F14Z131180 12/9/13! Denver, CO District of Colorado
52
11069 Silver Aspen Court, Hampton,
Burns, Orlando Georgia 30228 United States 2003 Saturn fon 1G8Aj52F23Z142649 9/15/13) Jones Burrow, GA Northern District of Georgia
53 2113 Chelwood Park Blvd NE Apt A,
Albuquerque, New Mexico 87112 United
Bustillos, Esperanza States 2008 Chevrolet Cobalt }1G1AL18F087121293 6/6/13|Rio Rancho, NM District of New Mexico
54 .
10651 £ Street Bldg H100, Corpus Christi, Northern District of
Callis, Nathaniel Texas 78419 United States 2007 Chevy Cobalt EGLALI5F9771282 7/4/12\Chouteau, OK Oklahoma
55 ye .
P.O. Box 802, Cushing, Texas 78760 United
Carpenter, Deborah States 2010 Chevy Cobalt 1G1AF5F5XA7238197 5/1/13} Nacogdoches, TX Eastern District ot Texas
56 3
3203 Autumn Lane, San Antonio, Texas
Carpenter, Taylor 78219 United States 2004 Saturn lon 408Aj5 28542102308 6/25/14) San Antonio, TX Western District of Texas
87
PO Box 384, Adrian, Missouri 64720 United
Carter-Taylor, Melinda States 2006 Saturn Jon AG8AM15F06Z186147 7/27/12) Lee's Summit, MO Western District of Missouri
$8
4620 Logan Way, Hubbard, Ohio 44425
Catone, Joseph United States 2007 Saturn ton IG8AJ55F872127834 4/3/14 Youngstown, OH Northern District of Ohio
$9 -
183 Vaughn Rd., Athens, Georgia 30606
Cepero-Wisher, Monique United States 2006 Chevy Cobalt LG1AK55F 267718828 2/21/14)Athens, GA Middle District of Georgia
60 -
120 Tressler Dr., Confluence, Pennsylvania Western District of
Chidester, Tracy 15424 United States 2007 Chevy HHR 3GNDA13D975566381 12/20/12) Turkeyfoot, PA Pennsylvania
61 -
2250 Tolbert Rd. Hamilton, Ohio 45011
Claxton, Sharon United States 2006 Chevy HHR 3GNDA23P6655 72136 8/2/10} Liberty, OH Northern District of Ohio
62
P.O. Box 853, Narth Tazewell, Virginia
Cochran, Alvie 24630 United States 2007 Chevy HHR 3GNDA33P 275543627 6/6/12iNorth Tazewell, VA Western District af Virginia
63 ge
395 Mountain View Church Rd., Patrick
Cockram, Stephanie Springs, Virginia 24133 United States 2006 Chevy Cobalt IGLAK15FX67742545 6/28/11 | Patrick Springs, VA Eastern District of Virginia
64
508 Pincus Ave., North Field, New Jersey
Cohen, Kelly 08225 United States 2008 Chevy Equinox | 2end/13#986330653 4/5/14) Pleasent Ville, NJ istrict of New Jersey
65 .
406 Friddle Drive, High Point, North Middle District of North
Covington, Tangela Carolina 27260 United States 2006 Saturn lon IG8AI55F362111751 12/18/11|Greensboro, NC Carolina
66
233 E. 7th St, Newpart, Kentucky 41071
Craddock, Veronica United States 2003 Saturn ton 1GBA352F437111855 9/1/11) Cincinnati, OH Southern District of Ohio
67
105 Aspen Dr., Birmingham, Alabama 35209
Craig, Maria United States 2010 Chevy Cobalt IGLAD5F57A7170074 9/26/12! Homewood, AL Northern District of Alabama
68
P.O. Box 1051, Point Clear, Alabama 36564
Crook, Reubena United States 2007 Saturn Sky 1G8MB35B47Y101541 12/9/13] Fairhope, AL Southern District of Alabama
69
6824 Radford Ave Apt 3, North Hollywood,
Crutcher, Ethel California 91605 United States 2005 Chevy Cobalt IG1AK5 2F357604310 2/25/14] North Hollywood, CA Central District of California

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No. Name of Plaintiff(s) Residency Car Type VIN # incident Date Accident City/State US Dist Court
70
C/O Wallace Regan 211 Orchard Dr,
Cullum, Amy Shelbyville, Tennessee 37160 United States |2005 Chevy Cobalt 4G1AL14FX57611239 2/8/14| Estill Springs, TN Eastern District of Tennessee
71
Cullum, Amy individually, and as Next C/O Wallace Regan 211 Orchard Dr,
Friend of Alexandria Regan-Laye Shelbyville, Tennessee 37160 United States |2005 Chevy Cobalt AG1AL14FX57611239 2/8/14}Franklin County, TN Eastern District of Tennessee
72
316 North 46th St. Apt. 3, Belleville, Hlinois
Culpepper, Dontalisha §2226 United States 2006 Chevy HHR 3GNDA23P86$502542 4/19/14) Belleville, It Southern District of Hingis
73 -
319 W. 15 Ave., Homestead, Pennsylvania Western District of
Cyrus, Taren 15120 United States 2007 Chevy Cobalt UG1AK55FX77387126 8/31/13) Pittsburgh, PA Pennsylvania
74 .
18106 Coker Rd. Trlr 36, Shawree, Western District of
Danforth, Kenneth Oklahoma 74801 United States 2007 Chevy HHR 3GNDA23DX75587021 4/3/14/ Bethel Acres, OK Oklahoma
7S . .
537 troquois, Dr., Birmingham, Alabama
Davis, Donda 35214 United States 2011 Chevy Impala 2GIWGSEKXB1290650 10/10/12} Homewood, AL Northern District of Alabama
76 .
5954 State Route 505, Georgetown, Chio
Davis, Ken 45121 United States 2006 Chevy HHR 3GNDA23P 265635717 2/14/14) Bethel, OH Southern District of Ohio
a7 . “
Davis Jr, Timothy A individually, and as Next {922 State Street, Charlotte, North Carolina Western District of North
Friend of Jaylen isiah Davis 28208 United States 2004 Chevy impala 2G1WE2F52E149224753 3/7/14|Charlotte, NC Carolina
78
922 State Street, Charlotte, North Carolina Western District of North
| __|Davis ir, Timothy A 28208 United States 2004 Chevy Impala 2G IWE2F52E149224753 3/7/14|Charlotte, NC Carolina
79
11710 Murr Way, Houston, Texas 77048
Davison, McDexturie United States 2008 Chevy Cobalt 1giak58f887115686 3/15/14] Houston, TX Southern District of Texas
80
2512 Blacksburg Road Unit 17, Grover, Western District of Nortiy
Degree, Latifah North Carolina 28073 United States 2006 Chevy Cobalt iglak55f767797977 3/14/14/ Shelby, NC Carolina
81 . . : “ .
Dennis, April Individually, and as Next 2357 Knott Street, Macon, Georgia 31201
Friend of Dinasia Dennis United States 2006 Chevy Cobalt 1GIAKSSFO77295362 4/16/12/ Atlanta, GA Northern District of Georgia
82 . . :
Dennis, April Individually, and as Next 2357 Knott Street, Macon, Georgia 31201
Friend of Rickelle Glenn United States 2006 Chevy Cobalt AG1AK55F077295362 4/16/12] Atlanta, GA Northern District of Georgia
83
P.O. Box 6136, Lakeworth, Florida 33466
Dor, Gabriel United States 2008 Chevy Malibu 1G612G578484240981 9/17/13} Lauderdale Lakes, FL Southern District of Florida
B4 pgs
3196 Cedar court, Placerville, California
Downes, Misty 95667 United States 2006 Saturn lon 1GBAISSF86EZ154935 4/13/13[Placervile, CA Eastern District of Cafifornia
85
1080 Cayer Drive, Glen Burnie, Maryland
Drury, Candace 21061 United States 2004 Saturn lon 1AGBAIS2F 8427125808 2/15/13|Glen Burnie, MD District of Maryland
86 . .
5706 Skyland Drive, Forest Park, Georgia
Dumas, Alberta 30297 United States 2006 Saturn ion 1G8A155FX6Z155892 1/24/14| Decatur, GA Northern District of Georgia
87
21 Staples Ave, Everett, Massachusetts
Dupervil, Reginald 02149 United States 2008 Chevy Malibu 1612G57B4842409381 9/17/13] Ft Lauderdale, FL Southern District of Florida
88
111 Roxberry Dr., Harvis, Alabama 35749
Durham, Cart United States 2006 Chevy HHR 3GNDA23P96S5 28647 7/24/10] Madison, AL Northern District of Alabama
89
202 Rindon Lane, Hazel Green, Alabama
Durham, Lauren 35750 United States 2006 Chevy HHR 3GNDA23P9655 28647 7/24/10] Madison, AL Northern District of Alabama
90
17 Belmar Drive, Little Rock, Arkansas
Dyer, Tonya 72209 United States 2006 Saturn ion AG8AI5SF062190957 4/1/14)Little Rock, AR Eastern District of Arkansas
91
112 Ledger St., Buffalo, New York 14216
Elder, Bobbie Jean United States 2007 Chevy Cobalt 1G1AK15F377204920 4/9/14] Buffalo, NY Western District of New York
S2
Elder, Bobbie Jean individually, and as Next |112 Ledger St., Buffalo, New York 14216
Friend of Robert Elder United States 2007 Chevy Cobalt AG1AK15F377204920 4/9/14/ Buffalo, NY Western District of New York

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No. Name of Plaintiff(s) Residency Car Type VIN # Incident Date| Accident City/State US Dist Court
93
102-39 88th Street, Ozone Park, New York
Farhan, Mohammad 11416 United States 2006 Chevy Cobalt 1G1AL58F687147629 14/12/13) Muenster, TX Eastern District of Texas
94 ve MAG .
5460 Janet Ave., St. Louis, Missouri 63136
Feagin, Lynda United States 2604 Saturn lon 1G8AF52F14Z104610 4/11/10]St. Louis, MO Eastern District of Missouri
95
1181 West 1600 N. #4, Layton, Utah 84041
Fearn, Ann United States 2007 Chevy Cobalt 1G1AL15F577220906 10/27/13] Morgan, UT District of Utah
96
40 Windtree Ct., Travelers Rest, South
Field, Judith Carolina 29690 United States 2004 Saturn lon IG8AIS2F542209942 2/17/14] Greenville, SC District of South Carolina
97
12761 SW 133 Rd Ave, Tigard, Oregon
Fish, Mariah L 97223 United States 2006 Saturn ton 1G8AZS5P26Z185431 8/15/13} Portland, OR District of Oregon
98
119106 Orsinger lane Apt 812, San Antonio,
Fleming, Courtney Texas 78230 United States 2006 Chevy impala 2G1WB55K069363661 8/10/40|San Antonio, TX Western District of Texas
99 . :
213 J.H. Aldridge Drive, Juliette, Georgia
Fieming, Danny 31046 United States 2007 Chevy Cobalt igiak1$f97712j820 $/1/13}luliette, GA Middle District of Georgia _|
100
277 N. Main St., Wilkes Barre, Pennsylvania Eastern District of
Frie, Samantha 18702 United States 2007 Chevy Cobait 1G1AL55F877193532 3/13/14] Hanover Township, PA Pennsylvania
1OL
2335 Alexandria Pike, Southgate, Kentucky
Fryman, Zachary 41071 United States 2005 Chevy Cobalt 4G1A1L545757602912 3/3/14} Southgate, KY Eastern District of Kentucky
102 4
P.O. Box 212, Commerce, Colorado 80022
Garcia, Ina United States 2006 Chevy Cobait 1G1AK55F667772858 7/4/12) Brighton, CO District of Colorado
103
10233 White Water Lilyway, Boynton
Garner, Michael Beach, Florida 33436 United States 2007 Cadillac DTS 1G6KD579674160582 8/10/14| Miami Beach, FL Southern District of Florida
104 . :
23440 Owen Ave., Ducor, California 93218
Garza, Wanda United States 2005 Chevy Cobalt 1G1AK52F557571441 3/16/13) Porterville, CA Eastern District of California
105 -
6217 47th Ave. E, Bradenton, Florida 34203
Genus, Simone United States 2007 Pontiac GS 1G2AL15F377274443 6/18/13|Stone Mountain, GA Northern District of Georgia
106 . :
427 West Paradise St., Orrville, Ohio 44667
Gibson, Teresa United States 2005 Chevy Cabait 1G1AK12FXS 7623123 1/10/14) Orrville, OH Northern District of Ohio
4107
124 Woodbury Rd., Burlington, Vermont
Glosson, Sylvia Jones 05408 United States 2007 Chevy Cobalt 1G3AK55F977410900 5/1/10} Boston, MA District of Massachusetts
108
48308 Rivertimber Dr, Del Valle, Texas
Gonzales, isabel 78617 United States 2006 Saturn lon 1GBAJSSF86AZ09199 6/24/13) Austin, TX Western District of Texas
109 . . 4
Gonzales, tsabel individually, and as Next |18308 Rivertimber Dr, Del Valle, Texas
Friend of Frances Janie Quintero 78617 United States 2006 Saturn ion IG8AIS5SF&6AZ09199 6/24/13) Austin, TX Western District of Texas
110
3280 Azteca Trail, El Paso, Texas 79938
Gonzalez, Yasmni United States 2006 Chevy Cobalt 1G1AL155967656043 4/1/14/E} Paso, TX Western District of Texas
Vt 2609 Featherstone Rd. Apt. #162,
Oklahoma City, Oklahoma 73120 United Western District of
Gordon, Debora States 2006 Pontiac Solstice |1G2MB35B76Y 114583 9/22/11}Oklahoma City, OK Oklahoma
12
2177 FM 318, Hallettsville, Texas 77964
Grant, Helen United States 2606 Saturn ion 1G8AJ55F9671 36966 2/28/14) Hallettsville, TX Southern District of Texas
113
504 ist Ave., Satsuma, Florida 32189 United
Graves, Patricia States 2007 Chevy HHR 3GNDA23P275592918 10/5/09] Wildwood, FL Middle District of Florida
114 - . . ;
1032 Oak St. Apt. B4, Scott City, Missouri
Gray, Samantha 63780 United States 2010 Chevy HHR 3GNBABD8B7AS582399 7/24/14) Scott City, MO Eastern District of Missouri
115
4920 Falcon Nest Place Apt 107, Hampton,
Groves, Aaron Virginia 23666 United States 2009 Chevy Cobalt 1G1AL18H897211830 9/30/13|James City County, VA Eastern District of Virginia

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No. Name of P Residency Car Type VIN # Incident Date Accident City/State Us Dist Court
6
un 182 Blackberry Creek Dr, Carraliton,
Gulley, Laquinta Georgia 30116 United States 2007 Chevy Cobalt AGIAKS5F877321870 411/13/13|Carroliton, GA Northern District of Georgia
117 . 5
2056 E. Howe Ave, Tempe, Arizona 85281
Gutierrez, Laura United States 2004 Chevy Malibu 1G17TS2814F 201142 7/1/12)Chihuaha, CH District of Arizona
118 -
225 Milk Barn Lane, Cookeville, Tennessee Eastern District of
Hagan, Fanchea 38506 United States 2004 Chevy Malibu 1G12U64884F 150545 4/29/13] Abington, PA Pennsylvania
119
3204 Currie St., Apt. 703, Fort Worth, Texas
Hammonds, Tonia 76113 United States 2004 Saturn ion 1G8AC12F74Z212814 12/10/13!}Fort Worth, TX Northern District of Texas
120
P.Q. Box 430877, Houston, Texas 77243
Hancock, James United States 2006 Chevy HHR 3GNDA23P 168584257 1/31/14] Houston, TX Southern District of Texas
121
PO Box 392, Ragland, West Virginia 25690
Hannah, Amanda United States 2008 Pontiac GS IG2AL18F687337094 3/31/13|South Williamson, KY Eastern District of Kentucky
422 . .
P.O. Box 68585, Jackson, Mississippi 39236 Southern District of
Harris, Diane E. United States 2007 Saturn lon 2GBAJS5F172142658 1/1/12| Madison, MS Mississippi
123 .
314 Harwell Ave Apt 4, Lagrange, Georgia
Harrison, Jabrittny 30240 United States 2007 Chevy Cobalt AG1AKS5FX77121640 12/18/12\LaGrange, GA Northern District of Georgia
124 soe .
36 Windsor Ct., Laurel, Mississippi 39443 Southern District of
Hatten, Willie Sr. United States 2009 Chevy Cobait ig1a158f487321892 11/23/13} Laurel, MS Mississippi
128
25 Markley Drive **Prisoner, York Haven, Middle District of
Haydt, Michael Pennsylvania 17370 United States 2003 Saturn jon 1G8AW 12F13Z175930 5/16/14|Goldsboro, PA Pennsylvania
126
2614 Matthews St, Newberry, South
Head, Lakendra Carolina 29108 United States 2004 Saturn lon IGSALS2F 347120557 6/10/14|Greenville, SC District of South Carolina
127 .
P.O. Box 118, Stillwater, Minnesota 55082
Hellerman, Wayne United States 2009 Pontiac Vibe 5Y25L658682406681 10/29/11)/Dickinson, KS District of Kansas
128 .
1824 Roman Ave., Camarillo, California
Hellstrom, Kerry 93010 United States 2006 Saturn lon IG8AJ55F762100199 4/25/14| Camarillo, CA Central District of California
129
2035 Lakeshore Dr., Port Arthur, Texas
Hemphill, Janet 77640 United States 2007 Chevy Cobalt 1G1AK15F077 264685 5/1/13) Port Arthur, TX Eastern District of Texas
130
P.O. Box 70, Georgetown, South Carolina
Henderson, Rasbee 29442 United States 2006 Chevy Cobalt TG1AK55F967818726 7/26/12/Georgetown, SC District of South Carelina
131 y
7507 Ruby Linder Road, Waxhaw, North Western District of North
Herd, Alexander Carolina 28173 United States 2006 Saturn lon ig8aj55f667149104 10/11/13) Shelby, NC Carolina
132
40021 W Fond Du Lac Ave Apt. 5,
Hicks, Dominique Milwaukee, Wisconsin 53224 United States [2010 Chevy Cobalt 1622G576094137313 4/4/14) Waukesha, WI Eastern District of Wisconsin
133 oe
17 Trafalgar Square, Birmingham, Alabama
Hill, Ashley 35215 United States 2007 Chevy Cobalt AG1AL45°777112027 12/12/13) Trussville, AL Northern District of Alabama
134
301 Randall Dr., Clinton, South Carolina
HI, Rebecca 29325 United States 2003 Saturn lon 1G8A2Z5 2F63Z168812 2/22/14 |Clinton, SC District of South Carolina
435
2000 idaho St., Evansdale, fowa 50707
Hoffman, Corey United States 2005 Chevy Cobalt IGIALI2F857553487 11/29/13] Waterloo, 1A Northern District of lowa
136 .
1426 Richbay East, Arnold, Maryland 21042
Hope, Christopher United States 2006 Chevy Cobalt AGIAP14P967626264 4/10/14) Baltimore, MD District of Maryland
137
P.O. Box 722, Snow Hill, North Carolina Eastern District of North
Horne, Janay 28580 United States 2008 Pontiac G6 1G2ZHS7N734275792 8/4/14] Snow Hill, NC Carolina
138 4
433 Cockerell Dr., Abilene, Texas 79602
Houston, Patricia United States 2004 Saturn fon 1G8AI52F2427157511 10/5/13) Abilene, TX Northern District of Texas

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No, Name of P id Car Type VIN # Incident Date| Accident City/State US Dist Court
139
7598 HWY 62 W, Beaverdam, Kentucky 2007 Chevy Malibu
Hughes, Katherine 42320 United States Maxx 1G1ZT68N97F 116220 9/20/09) Beaver Dam, KY Western District of Kentucky
140
2614 Matthew St, Greenville, South
Jackson, Calvin Carolina 29108 United States 2004 Saturn ion 1G8AL52F342Z 120587 6/10/14| Greenville, SC District of South Carolina
141
2101 W Anderson Lane Apt. 413, Austin,
Jarrell, Barbara fexas 78757 United States 2005 Saturn fon 1G8AI52F752167694 7/26/14} Austin, TX Western District of Texas
142
8976 South 650 West, Milroy, Indiana
Jasper, Kathy 46156 United States 2004 Chevy Aveo KLATJ626X4B170866 4/11/14) Milroy, IN Southern District of Indiana
143 .
1032 West Garfield St, Wynne, Arkansas
Jeffrey, Joyce 72396 United States 2007 Chevy Cobalt AG1AK55F677337789 2/11/14) Wynne, AR Eastern District of Arkansas
144
$45 County Rd 11 North, Arlington,
Jenkins, Carla Alabama 36722 United States 2007 Chevy Cobalt AG1AL55F77 269449 4/1/13|Magnolia, AL Southern District of Alabama
145 oa ta
6705 Oak Dr, Alexandria, Virginia 22306
Johnson, Maurice United States 2000 Cadillac DeVille | 1G6KDS4Y7YU308784 16/25/13]Washington, DC District of Columbia
146
100 Cherry St. #1302, Tomball, Texas 77375
Johnson, Scott United States 2007 Chevy Cobalt TGIALISF867751175 4/9/13] Magnolia, TX Southern District of Texas
147
656 Sunset View Dr, Akron, Ohio 44320
Johnson, Tyler United States 2006 Pontiac G6 1G22G8 28154173775 7/5/43|Akron, OH Northern District of Ohio.
148 : . ;
6136 Firetower Rd, Kiln, Mississippi 39556 Southern District of
Johnson, Vivian United States 2007 Chevy Cobalt RGLALS5FX77416573 6/21/13|Pass Christian, MS Mississippi
149
104 Wilson St., Havre De Grace, Maryland
Jones, Rachel 21078 United States 2005 Chevy Cobalt 1G1AL52F457512622 10/15/13) Baltimore City, MD District of Maryland
150
40416 218th Avenue SE, Enumclaw, Western District of
Josie, Cathy Washington 98022 United States 2006 Pontiac Solstice |1G2MB33886Y104311 7/9/13} Enumclaw, WA Washington
151
40416 218th Avenue, SE, Enumclaw, Western District of
Josie, Richard Washington 98022 United States 2006 Pontiac Solstice |1G2MB33B86Y104311 7/9/13] Enumclaw, WA Washington
iS2
3208 South Belt Highway, St. Joseph,
King, Perry Missouri 64507 United States 2006 Chevy HHR 3GNDA13DC65511431 2/10/14]St Joseph, MO Western District of Missouri
153 4
1101 Braden Ct., Waukee, lowa 50263
Kinney Jr., Darrell United States 2006 Chevy HHR 3GNDA230765639610 3/9/12| Waukee, iA Southern District of lowa
154 4
11755 South Lake Drive, Apt. 3507,
Kirika, Loveth Houston, Texas 77077 United States 2007 Chevy HHR 47 1BB46K170028861 4/12/14) Galveston, TX Southern District of Texas
455 oo.
812 W, Peru St., Princeton, Illinois 61356
Klukaczynski, Elizabeth United States 2006 Chevy Cobalt AG1AK55F567655451 2/20/14} Henry, Ih Central District of Hlinois
156 co
19794 N State Hwy 78, Canton, illinois
Lambert, lerry 61520 United States 2004 Saturn fon 1G8AJ52F 242187687 9/15/12} St Petersburg, IL Central District of ilinois
is? 4
17 McMahan Cutoff Road, Sumrall, Southern District of
Landrigan, Joshua Mississippi 39482 United States 2006 Chevy Cobalt IG1AKS5F667820200 8/18/13| Purvis, MS Mississippi
158
284 West Bluff Ave., Fresno, California
Lane, Breeanna 93711 United States 2010 Chevy Cobalt 1G1AK58F987274765 6/25/13} Marina Del Rey, CA Central District of California
159 .
41443 Capipola Circle, Stockton, California
Lankford, Christina 95206 United States 2008 Chevy HHR 3GNDAS3PX8S610925 9/10/13} Stockton, CA Eastern District of California
i6Q .
2816 S. Winsted Way, West Valley City,
Lawrence, Dillon Utah 81420 United States 2005 Chevy Cobalt AGIAP14P 157639072 12/30/13] West Valley, UT District of Utah
161 ; j
730 Nola Rd, Sontag, Mississippi 39665 Southern District of
Lee, Cayce United States 2005 Chevy Cobalt AGIAKS2F15 7622983 10/20/09] Lorman, MS Mississippi

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2202 Cherry Ridge Dr., Plainfield, Illinois

No. Name of Plai {s) Residency Car Type VIN # Incident Date Accident City/State US Dist Court
162
2852 Hampton Cove Way, Huntsville,
Lee, Dixie Alabama 35763 United States 2008 Pontiac Solstice |1G2MC35BX8Y114657 10/18/13jHuntsville, AL Narthern District of Alabama
163 .
5011 Goodnow Rd. Apt. C, Baltimore,
lege, Tammy Maryland 21206 United States 2008 Chevy Cobait igialS8f887229572 1/25/14) Baltimore, MD District of Maryland
164

Lewis, Delores 60586 United States 2006 Chevy Cobalt 1G1AK55F067605945 10/4/1215t. Louis, MO Eastern District of Missouri
165 4
3353 Idlewild Or, Chattanooga, Tennessee
Lewis, Jameka 37411 United States 2006 Chevy Cobalt 1GIAK15F967603880 12/25/13] Winchester, TN Eastern District of Tennessee
166
68 Edan St, Buffalo, New York 14220
Licht, Donald United States 2007 Chevy HHR 3GNDA33P378566981 10/21/13} frving, NY Western District of New York
167 :
P.O. Box 671, Fairfax, South Carolina 29827
Lingard, Vernado United States 2009 Chevy HHR 3GNCA23B295605556 5/3/13] Walterburo, SC District of South Carolina
168 .
$150 Biscayne Avenue Apartment 13, Western District of
Lother, Letonya Racine, Wisconsin 53406 United States 2010 Chevy Cobait IG1AF5F58A7191137 1/20/12] Blanchardville, Wi Wisconsin
169
112 Harbour Town Dr., Montgomery, Texas
Lozoya, Luis 77356 United States 2006 Chevy Cobalt 2G1AP11P267716022 9/25/13] Montgomery, TX Southern District of Texas.
170
10300 Lake Wheeler Rd_, Fuquay Varina, Middle District of North
Lyons, Dallas Lee North Carolina 27526 United States 2005 Saturn fon 1G8AG5 2F752154054 4/21/14}Greensbora, NC Carolina
V1 ee
1564 Harrington Rd Apt. 6134,
Mabry, Braggie Lawrenceville, Georgia 30044 United States 12005 Saturn jon 1G8AJ52F852138981 3/21/12} Middletown, GH Southern District of Ohia
72
1564 Harrington Rd Apt 6134,
Mabry, Steven Q. Lawrenceville, Georgia 30043 United States {2005 Saturn lon 1G8A}52F857133981 3/21/12] Middletown, OH Southern District of Ohio
173 5
2094 Palmer Rd, Three Rivers,
Mack, Kelli W. Massachusetts 01080 United States 2005 Chevy Cobalt 1G1AK52F357550037 6/29/13}Grafton, MA District of Massachusetts
474
P.O. Box 1793, Bucksport, Maine 04416
Maddocks, Jenna United States 2006 Saturn lon LG8AIS8F467110281 5/23/13] Hollywood, FL Southern District of Florida

175

Maestas, Phyllis

2110 Camino Palvaso, Santa Fe, New
Mexico 87507 United States

2007 Chevy Cobalt

1G1IALS5F777415011

6/1/14|Santa Fe, NM

District of New Mexico

176
> Mahoney, Sandi Individually, and as Next

12700 Ridgemont Dr., Oklahoma City,

Western District of

Friend of Brodi Mahoney Oklahoma 71365 United States 2011 Chevy HHR 3GNBACFUSBS659134 8/26/13) Oklahorna City, OK Oklahoma
177
Mahoney, Sandi Individually, and as Next 12700 Ridgemont Dr., Oklahoma City, Western District of
Friend of Brylei Mahoney Oklahoma 71365 United States 2011 Chevy HHR S3GNBACFUSBS659134 8/26/13} Oklahoma City, OK Oklahoma
178 - .
Mahoney, Sandi Individually, and as Next 12766 Ridgemont Dr., Oklahoma City, Western District of
Friend of Serenity Yocum Oklahoma 71365 United States 2011 Chevy HHR 3BGNBACFU9BS659134 8/26/13] Oklahoma City, OK Oklahoma
179 .
2400 Deerfield Dr. Apt 28, North Port,
Manassa, Kajuana Alabama 35473 United States 2006 Saturn jon 1G8AJ55F862137343 4/16/14] Tuscaloosa, AL Northern District of Alabama
180
75 Berkeley Avenue, Yonkers, New York Southern District of New
Margolin, lerome 10705 United States 2009 Buick Lucerne 1G4HP57129U119843 2/11/14|Yonkers, NY York
181 , r
10032 Cranbrook Falls, Las Vegas, Nevada
____ Margolin, foe 89148 United States 2005 Saturn lon 1G8A352-952170743 7/1/13) Las Vegas, NV District of Nevada
182
1423 Hadwick Dr. Apt J, Baltimore,
Markwell, Heather Maryland 21221 United States 2007 Pontiac GS 1G2ALISF877367670 4/25/12) Essex, MD District of Maryland
183 :
2511 Pendleton, Columbia, South Carolina
Marshall, Ceretinia 29205 United States 2006 Saturn lon 1G8Aj55F36Z161601 12/10/13] Columbia, $C District of South Carolina
184
316 Columbia Drive Apt 322C, Carrollton,
Martin, Brittani Georgia 30117 United States 2005 Chevy Cobalt 1G1ALS2F657501914 12/21/12)| Carrollton, GA Northern District of Georgia

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No. Name of Plai Residency Car Type VIN # Incident Date; — Accident City/State US Dist Court
185
8 Private Road 22244, Cleveland, Texas
Martin, Cathy 77327 United States 2011 Chevy HHR 3GNBABFW5BS6 28703 11/19/13)Cleveland, TX Eastern District of Texas
186 :
24784 State Hwy AB, Essex, Missouri 63846
Martin, Patricia United States 2008 Chevy Cobalt 1G1AM18B487220290 3/27/14 Essex, MO Eastern District of Missouri
187
747 Merton Ave, Akron, Ohio 44306 United
Mason-Andrus, Jane £ States 2011 Chevy HHR 3GNBABFW8BS648637 10/24/13) Akron, OH Northern District of Ohio
188
730 Brunswick Blvd, San Antonio, Texas
Mata, Robert 78214 United States 2009 Chevy HHR 3GNCA23V79S562696 4/15/14}San Antonio, TX Western District of Texas
189
14259 E. Ravine Run, Willis, Texas 77318
Mathison, Rebecca United States 2007 Chevy Cobalt AGIAK1SF277387436 6/17/14|Conroe, TX Southern District of Texas
190 -
$70 johnson Street, Nash, Texas 75569
Matthews, Dolly United States 2008 Chevy Trailblazer} 1GNDS13568 2216294 11/16/14) Texarkana, TX Eastern District of Texas
191
10560 Club Mont tn., Raleigh, North Western District of North
McCann, Julie Carolina 27617 United States 2009 Pontiac G6 1G622G57B594202446 5/21/13) Mooresville, NC Carolina _|
192 :
2913 Kilcairn lane, Allison Park, Western District of
McCarthy, Eric Pennsylvania 15101 United States 2008 Chevy Cobalt 1GIAKS8FD87267204 8/1/13] Pittsburgh, PA Pennsylvania
193
800 Lexington St. Trailer 202, Norman, Western District of
McDonald, Brian Oklahoma 73069 United States 2007 Chevy Cobalt 1G1LAK15F377365817 12/11/12|Norman, OK Oklahoma
194
14100 Carrydale Ave, Cleveland, Ohio
McGhee, Annie 44111 United States 2006 Chevy Cobalt 1G1AK15F167831887 3/8/14/Cleveland, OH Northern District of Ohio
198 -
2415 Baca Chica Drive, fortiand, Texas
Mcliwain, Lorrie 78374 United States 2007 Chevy Cobalt AGIALS5F177124021 2/27/14|Portland, TX Southern District of Texas
196 ;
1160 Northwest 147th St., Miami, Florida
McKenzie, Alexis 33168 United States 2006 Chevy Cobalt LIALI5FS67806665 41/24/13|North Miami, FL Southern District of Florida |

197

Mekinney, Elizabeth

115 Ruffian Trail, Georgetown, Kentucky
40324 United States

2007 Chevy Cobait

IGIAK55F177377388

12/5/10}Lexington, KY

Eastern District of Kentucky

198

4799 Via Palm Lake Unit 1619, West Palm

McNew, Nathan Beach, Florida 33417 United States 2005 Chevy Cobalt 1G1AL52F057511239 8/24/10| Greenacres, FL Southern District of Florida
199
4250 Hillmanway Apt 7, Boardman, Ohio
McQueen, joann 44512 United States 2006 Chevy Cobalt 1G1ALI5F967670458 4/1/14] Boardman, OH Northern District of Ohio
200 :
89 E. Evergreen Ave., Youngstown, Ohio
Memmer, Ed 44507 United States 2007 Chevy Cobalt 1G1AZ54F85 7621337 9/8/09|Youngstown, OH Northern District of Ohio
201 :
4135 Walnut Rd., Buckeye Lake, Ohio 43008
Miller, Amy United States 2005 Chevy Cobalt IGIAK52F757545416 3/20/13] Licking Township, OH Southern Distriet of Ohio
202
1425 Teague Rd Apt 505, Myrtle Beach,
Minton, Pamela South Carolina 29577 United States 2008 Chevy Cobalt 1G1AK18F687338737 3/26/13] Myrtle Beach, $C District of South Carolina
203
6315 Linton Street, Jupiter, Florida 33458
Monisera, Michael United States 2008 Chevy HHR 3BGCCA85D38S663541 4/2/42] West Palm Beach, FL Southern District of Florida
204
5938 Chance Drive Apt A, Horn Lake, Northern District of
Monroe, Kimberley 4 pi 38637 United States 2006 Chevy HHR 3GNDA130065612694 8/3/14] Walls, MS Mississippi
205
2243 Missouri St, Baton Rouge, Louisiana
Moore, Patricia 70802 United States 2003 Saturn L200 1G8jJUS4F13¥5 13066 2/24/14|Baton Rouge, LA Middle District of Louisiana
206
10607 Alondra Peak St., Las Vegas, Nevada
Moore, Robert 89183 United States 2006 Chevy HHR 3GNDA23P 268510412 11/22/13|Henderson, NV District of Nevada
207
8832 Santabella, Hazelwood, Missouri
Moore, Tajuan 63042 United States 2006 Chevy Cobait AGIAK1SF567825932 2/3/13] St Louis, MO Eastern District of Missouri

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No. Name of Plaintiff(s} Residency Car Type VIN # Incident Date| Accident City/State US Dist Court
208
619 Springfield Street Apt. 4, Feeding Hills,
Morris, Darryl Massachusetts 01030 United States 2005 Saturn lon AG8AL5 2F85Z103495 1/2/10) Feeding Hills, MA District of Massachusetts.
209 |
5518 West Loop 281 Apt. 132, Longview,
Mosley, Constance Texas 75602 United States 2008 Chevy Cobalt AIGIAL58F687110922 2/3/14 Jefferson, TX Eastern District of Texas
210
2203 § Larsen Rd, Avon Park, Florida 33825
Mosley, Shannon United States 2003 Saturn lon 1G8AI5 2F932133978 12/4/13] Avon Park, FL Southern District of Florida
211 .
1607 MLK Drive, Elizabeth Town, North Eastern District of North
Moultrie, Mary Carolina 28337 United States 2009 Chevy Cobait 1G1AT58H497125342 2/28/13} White Lake, NC Carolina
212
329 S. Center St., Forrest, Hingis 61741
Mounts, William United States 2005 Saturn lon 1G8ALS2F152174568 6/14/10}Lombard, IL Northern District of Hingis
213 -
1094 West 1520 North Apt. G, Ogdem, Utah
Mower, Randy 84404 United States 2010 Chevy HHR 3GNBAADB9ASSS 3819 4/17/14 Ogden, UT District of Utah
214
PO Box 41, Broken Arrow, Oklahoma 74013
Munoz, Armando United States 2007 Chevy HHR 3GNDA13DX75634509 9/10/12] Denton, TX Eastern District of Texas
215
612 S. Lariat Dr., Mustang, Oklahoma 73064 Western District of
Munoz, Carol United States 2008 Chevy Cobalt 1G1AL18F687267357 6/14/13) Mustang, OK Oklahoma
216 -
3243 Peanut Piant Rd., Elizabethtown, Eastern District of North
Murchison, Tyrone North Carolina 28337 United States 2009 Chevy Cobalt 1G1AC58H497125342 2/28/13) Elizabethtown, NC Carolina
217
537 E. Kenbridge Dr., Carson, California
Murphy-Turner, Maya 90746 United States 2006 Saturn ton G8AN18F 662185982 4/3/14) Los Angeles, CA Central District of California
218 .
6320 Forest Preserve Rd_, Rackton, Illinois
Murray, Meghan 61072 United States 2010 Chevy Cobalt AGIAFSFS4A7121165 4/4/14/Big Bend, Wi Eastern District of Wisconsin
219
411 North Alex Alford Dr, Georgetown,
Myers, Yvonne South Carolina 29440 United States 2008 Pontiac G6 1G6272G57N684162466 5/26/12) Manning, SC District of South Carolina
220
1508 East 37th St, Kansas City, Missouri
Myrick, Aaron 64109 United States 2008 Pontiac G6 1G2Z2H57N184124673 11/25/13/Topeka, KS District of Kansas

221

Neal, Amanda

143 Paul Evans Rd, Climax, Georgia 39834
United States

2009 Chevy Cabalt

1IG1AT58H997 286334

4/19/13| Tallahassee, FL

Northern District of Florida

222

3464 Kingston St., Jacksonville, Florida

Nelson, Janelle 32254 United States 2007 Saturn lon 1G8AI55F47Z162791 3/6/14} Jacksonville, Fi Middle District of Florida
223 .
12786 Burns Rd., California, Kentucky
Nolan, Timothy 41007 United States 2006 Pontiac Solstice |1G2MB33B46Y11087 9/8/10| Alexandria, KY Eastern District of Kentucky
224 .
749 Bleich Rd. Lot 8, Paducah, Kentucky
Norville, Amy 42003 United States 2003 Saturn jon AG8AW12F63Z176541 11/21/13)|Gage, KY Western District of Kentucky
225 .
1910 Grant Ave., Panama City, Florida
Oden, DeAndrea 32405 United States 2005 Chevy Malibu EGINOS 2F75M146185 1/11/13|Pell City, AL Northern District of Alabama
226 - .
83 Davis Memorial Rd, Roanoke Rapids, Eastern District of North
Odom, Emary North Carolina 27870 United States 2007 Saturn Sky 1G8MB35847Y114077 5/29/14] Roanoke Rapids, NC Carolina
227
7450 E. 32nd St. N Apt #306, Witchita,
Oliver, Latisha Kansas 67226 United States 2003 Saturn ton 1GBAK5 2F037179793 8/28/13] Wichita, KS District of Kansas
228 :
Osborne, Stefanie Individually, and as Next [P.O. Box 363, Derry, Pennsylvania 15627 Western District of
Friend of Sophia Davis United States 2005 Chevy Cobalt AGIAKS 2FX57519044 3/7/13iDerry, PA Pennsylvania
229
548 Gwinette Street, Aiken, South Carolina
Paige, Kathary 29861 United States 2604 Saturn lon 168AM12F 247181128 4/14/12|Granite Ville, SC District of South Carclina
230
12277 Apple Valley Rd #4114, Appie Valley,
Parker, Melissa California 92308 United States 2006 Chevy Cobalt GIALSSFX67657712 9/28/1231 Apple Valley, CA Central District of California

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231
40046 Berry Bivd., La Fargeville, New York Northern District of New
Parow, Laura M. 13656 United States 2006 Saturn lon 1G8AL55F66Z2140994 12/18/13| Alexandria Bay, NY York
232 .
1500 Logan $t., Jacksonville, Florida 32209
Parsons, Rita United States 2008 Chevy HHR 3GNEA130685544601 8/28/13 Jacksonville, FL Middle District of Florida
233 .
3456 Vanburen, Ogden, Utah 84403 United
Patterson, Michael States 2007 Pontiac GS 1G2AL15F677349863 5/30/13) Ogden, UT District of Utah
234
113 St. Paul Or., Cahokia, Hlinois 62206
Payne, Cierra United States 2007 Pantiac G5. 1G2A15F677154698 4/9/12} St. Louis, MO. Eastern District of Missouri
235
124 S Running Deer Circle, Dudley, North Eastern District of North
Pearsall, Latesha D Carolina 28333 United States 2006 Chevy Cobalt 1GIALSSE467768224 4/21/14iGoldsboro, NC Carolina
236 | :
1402 East OBear Ave, St Louis, Missouri
Petty, Dorothy 63107 United States 2007 Chevy Cobalt AGIALS8F477 205686 4/13/13}St. Louis, MO Eastern District of Missouri
237
1821 West 26th Street Apt 34, Lawrence,
Pierre, Kachet Kansas 66046 United States 2008 Pontiac G6 1G27H57N184124673 11/25/13|/Topeka, KS District of Kansas
238
2423 Hadwick Dr Apt J, Essex, Maryland
Pigatt, Anthony 21221 United States 2007 Pontiac GS IG2ZALISF877367670 4/25/12) Essex, MD District of Maryland
239
354 4th st, Atlantic Beach, Florida 32233
Pigg, Jean United States 2007 Saturn Sky 168M8358X7Y 106369 5/5/101St. Augustine, FL Middle District of Florida
240
3512 Milton Street., Shreveport, Louisiana
Player, Leonidas 71105 United States 2005 Saturn ion 1G8AN12FQ5Z111299 5/12/14| Shreveport, LA Western District of Louisiana
241
2807 Misty Waters Drive Apt 35, Decatur,
Poole, Tannell Georgia 30032 United States 2008 Chevy Cobalt IGIALS8F 287208975 12/23/13| Decatur, GA Northern District of Geargia
242 - . .
3 Shay St, Edgefield, South Carolina 29824 Atlanta (Fulton County},
Pridgen, Clifford United States 2006 Chevy Cobait 1G1AK55F 267867255 4f/1O/11}GA Northern District of Georgia
243 ae 5
P.O. Box 252, Washington, Arkansas 71862
Quarles, Miesha United States 2007 Chevy Cobalt 1G1AK15F483405646 2/9/12] North Little Rock, AR Eastern District of Arkansas
244 . 4
43 Brookside Dr. West, Harriman, New York Southern District of New
Quick Jr, James 10926 United States 2006 Saturn jon AGBALS8F16Z196675 9/9/13) Bronx, NY York
245 .
12475 NW 27th Ave Apt 207, Miami, Florida
Quinones, Ana Lourdis 33167 United States 2006 Chevy Cobalt 1G1AK55F367846107 4/24/14] Hialeah, FL Southern District of Florida
246 -
529 Maple Street, Roanoke Rapids, North Eastern District of North.
Rawlings, Christopher Carolina 27870 United States 2007 Chevy Cobalt 1G1AM55B277390366 6/4/14/Roanoke Rapids, NC Carolina
247 . seciecinwnt ;
161 Tennyson Cove, Picayune, Mississippi Southern District of
Rayner-Creel, Kelli 39466 United States 2009 Chevy Cobait Ljlat58h9977114630 2/28/10) Picayune, MS Mississippi
248
11026 NE 50th, Spencer, Oklahoma 73084 Western District of
Reagle, Marjorie United States 2007 Chevy Cobalt IG1AK55F177326375 11/24/13) Oklahoma City, Ok Okahoma
249 .
13712 West Rim Drive #915, Euless, Texas
Richey, Alicia 76040 United States 2007 Chevy HHR 3gnda13d27s620104 10/5/09} Cedar Hill, TX Northern District of Texas
250
PO Box 252, Abbottstown, Pennsylvania Middle District of
Ricketts, Byron 17301 United States 2007 Chevy Cobalt 1G1AK55F477307531 12/1/09|Abbottstown, PA Pennsylvania
251
200 Bostic Dr, Apt 102, Longview, Texas
Roberts, Merelene 75602 United States 2004 Cadillac DeVile | 1G6KDS4Y74U214026 7/18/14) Longview, TX Eastern District of Texas
252 .
703 Perching Court, Mt. Pleasant, South
Roberts, Robbie Carolina 29464 United States 2005 Chevy Cobalt 1G1AK52F757550901 3/17/14| Charleston, $C District of South Carolina
253
2123 W. Glenrosa Ave Apt. 2, Phoenix, 2006 Pontiac Grand
Robinson, Dorian Arizona 85015 United States Prix 2G2WPS5 2861228173 12/6/13} Riverside, 1A Southern District of jowa

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No. Name of P Residency Car Type VIN # Incident Date] — Accident City/State US Dist Court
254 oti
4805 Lansdown Dr., Corpus Christi, Texas
Robles, Elizabeth 78411 United States 2006 Chevy Cobalt 4AG1AK15F767785773 3/2/14} Corpus Christi, TX Southern District of Texas
255
10242 Hillenberg Lane, Houston, Texas
Rodgers, Meghan 77034 United States 2006 Saturn lon 1IG8AI55F66Z163617 3/23/14]Houston, TX Southern District of Texas
256
9960 Springland Dr., Whittier, California
Rodriguez, Miranda 90601 United States 2008 Chevy Cobalt 1G1AL12F557644703 11/25/11] E] Monte, CA Central District of California
257
439 Buck Mountain Road, Crown Point, Northern District of New
Ross, Erin New York 12928 United States 2007 Chevy Cobalt 1G1AP11P577144039 12/30/11|Crown Point, NY York
258
1751 25th Ave South, Wisconsin Rapids,
Rude, Michael Wisconsin 54495 United States 2007 Chevy Cobait 1G1AL55F977169837 9/9/10)Rifle, CO District of Colorada
259
1754 25th Avenue South, Wiscansin Rapids,
Rude, Rachel Wisconsin 54495 United States 2007 Chevy Cobalt 1G1AL55F977169837 9/9/10|Rifle, CO District of Colorado
260 . -
7975 San Cosme, Citrus Heights, California
Rush, Sandra 95610 United States 2006 Chevy HHR 3GNDA23P06$568583 2/3/14/Rancho Cordova, CA Eastern District of California
264
° 2104 Emerald Pointe Dr. Apt 7,
Russell, Brenda Birmingham, Alabama 35216 United States 12005 Chevy Cobalt 1G1AK52FS576195938 7/13/13] Alabaster, AL Northern District of Alabama
262 n,
15 Kestrel Circle, Covington, Georgia 30014
Sanders, Kitty United States 2007 Pontiac Solstice |1G2MB35B67Y142554 6/4/12) Maddison, GA Northern District of Georgia
263 ¢
20 Pike $t., Biddeford, Maine 04005 United
Sargent, Tammy States 2007 Chevy Cobalt IG1AK15F477189845 7/27/42)South Portiand, ME District of Maine
264
P.O. Box 702906, Tulsa, Oklahoma 74170 Northern District of
Scheuer, Robert United States 2003 Saturn lon IGBAW 12F037205144 5/28/14] Bristow, OK Oklahoma
265 .
300 Meadow Park, North Little Rock,
Scott, Alexis Arkansas 72117 United States 2006 Chevy HHR 3GNDA23P86SD66660 3/2/13] Mayflower, AR Eastern District of Arkansas
266 . -
P.O. Box 213, Wildomar, California 92595
Selix, Lanette United States 2006 Pontiac G6 41G27H178464288094 4/1/14} Wildomar, CA Central District of California
267 .
1147 N. Carey Street, Baltimore, Maryland
Shell, James 21217 United States 2007 Chevy Cobalt LGLAKSSFX77307775 3/13/12} Baltimore, MD District of Maryiand
268 . : 249
1655 SE 4th Ave., Arcadia, Florida 34266
Shirley, Danielle United States 2006 Chevy HHR 3GNDA13D36F555987 5/21/14} Arcadia, FL Middle District of Florida
269
92 Tilley Lane, Osage, Oklahoma 74054 2007 Pontiac Grand Northern District of
Simon, Richard United States Prix 2G2WP55 2171222580 5/1/14| Osage, OK Oklahoma
270 .
1208 Talley Or, Clarksville, Tennessee 37040
Slate, Charles Davids United States 2007 Chevy HHR 3GNDA13D678618307 10/26/13} Pleasant View, TN Middle District of Tennessee
274 fej
1612 Woodrow St., Shreveport, Louisiana
Smith, Ardeila 71103 United States 2005 Saturn ion IG8AN12FQ52111299 5/12/14) Shreveport, LA Western District of Louisiana
272
620 £. Cecil St, Springfield, Ohio 45503
Smith, Cory Shane United States 2005 Chevy Cobalt IGIAK12F 157670931 10/25/131 Springfield, OH Southern District of Ohio
273 |
220 Jackson Street, Sistersville, West Northern District af West
____ Smith, Jesse Virginia 26175 United States 2006 Chevy Cobalt AG1AKS5SF367812944 5/25/13| Wallace, WV Virginia
274
P.O. Box 4082, Fort Pierce, Florida 34948
Smith, Patricia United States 2008 Pontiac G6 1G2ZG558464 248658 2/24/12} Fort Pierce, FL Southern District of Florida
275 . :
220 Jackson Street, Sistersville, West Northern District of West
Smith, Tanya Virginia 26175 United States 2006 Chevy Cobalt LG1AK55F367812944 §/25/13)| Wallace, WV Virginia
276 .
85 River St. P.O. Box 36, Nicholville, New Northern District of New
Snyder, Brenda York 12965 United States 2006 Chevy HHR 3GNDA23D765590263 2/15/13} Malone, NY York

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No. Name of P

Residency

Car Type

VIN #

incident Date

Accident City/State

US Dist Court

Spencer, Carrie

$463 Highway 71 South, Cove, Arkansas
71937 United States

2008 Chevy HHR

3GNDA130285555952

5/10/13|Mena, AR

Western District of Arkansas

278
116 Hay, Park Forest, Illinois 60466 United
Stewart, Juanita States 2004 Saturn ton 1G8AJ52F64Z211747 10/22/11} Park Forest, iL Northern District of Hinois
273
Rt 1 Box 661, Delbarton, West Virginia Southern District of West
Stewart, Krista 25670 United States 2013 Chevy Camaro | 2G1FB1£3409137413 1/17/14) Delbarton, WV Virginia
280 .
5449 Kirkland Way, Columbus, Chio 43231
Stinchcomb, William United States 2008 Chevy Cobalt 1G1ALS8F487238530 12/10/12iCotumbus, OH Southern District of Ohio
281 :
1703 Sugarhill Rd,, Dillon, South Carolina
Styles, Brenda 29536 United States 2004 Saturn jon 1G8A352F947208180 12/3/11|Marion, SC District of South Carolina
282 6828 Parkwood St., Landover Hills,
Surratt, Sonya Maryland 20784 United States 2006 Saturn lon IGBAISSFX6Z185426 10/13/13iLandover Hills, MD District of Maryland
283
8161 Private Road 2037, Odem, Texas
Taylor, Amy 78370 United States 2010 Chevy Cobalt 1G1AB1F50A7237998 9/14/12iKerrville, TX Western District of Texas
284
P.O. BOX 51, Eastville, Virginia 23347 Eastern District of North
Tazweil, Dorothy United States 2006 Chevy Cobalt 1GiK5SF 167690228 1/1/10) Garysburg, NC Carolina
285
2381 Horse Branch Rd., Turbeville, South
Tedder, Brittany Carolina 29162 United States 2007 Chevy HHR 3GNDA13D0475622954 8/11/13] Near Turbeville, $C District of South Carolina
286
625 South Main Street, Pittsburgh, Western District of
Terry, Davina Pennsylvania 15220 United States 2007 Chevy Cobalt 1G1AL15F177193283 6/10/14) Pittsburgh, PA Pennsylvania
287 .
328 W Elmer St, Vineland, New Jersey
Terry, Terrene 08360 United States 2006 Saturn ion 1G8AJ55F56Z115 266 4/1/14; Vineland, NJ District of New Jersey
288 .
105 Catherine Street, Canastota, New York Northern District of New
Thayer, Danielle 13032 United States 2006 Chevy Cobalt 1G1AK55F067790644 11/9/11] Sullivan, NY York

Thomas, Flossie

P.O. Box 903, Magnolia, Arkansas 71754
United States

2010 GMC Acadia

IGKLREDSAI175533

4/1/14) Magnolia, AR

Western District of Arkansas

290

405 Williams Drive, Bastrop, Louisiana

Thomas, Tyneka M 71220 United States 2005 Chevy Cobalt 1G1AKS2F157514637 7/5/12) Bastrop, LA Western District of Louisiana
291 .
2451 W. Cumberland St., Philadelphia, Easter District of
Thormpson, Willie 5. Pennsylvania 19132 United States 2013 Chevy Traverse 1/1/13/Philadeiphia, PA Pennsylvania
292 y “
176 Caroline Court, Circleville, Ohio 43113
Thornton, Natisha United States 2006 Chevy HHR 3GNDA23P065649387 12/12/13|Liberty, OH Southern District of Ghia
293 «
52 Rounds, Buffalo, New York 14215 United
Todd, Dawna States 2008 Chevy HHR 3GNCA23DX857 24990 11/25/13| Cheektowaga, NY Western District of New York
294
1983 Oakwell Farms Parkway Apt. 408, San
Torres, Dennis Antonio, Texas 78218 United States 2010 Chevy Impala 2GIWASENOA1104351 5/26/14) San Antonio, TX Western District of Texas
298
820 Harvard, Bivd, Lynn Haven, Florida 3244
Towne, Patricia United States 2008 Cadillac CTS 1G6DFS77X80144976 1/9/13] Panama City, FL Northern District of Florida
296 . .
468 Martha Dr., Meadville, Pennsylvania Western District of
Tucker, ji 16335 United States 2004 Saturn ton AG8ALS2F94Z217455 3/13/14) Meadville, PA Pennsylvania
297 : ;
331 Lincoln Hills, Coatesville, Indiana 46121
Tudor, Ellen United States 2005 Chevy Malibu 1G1ZT62895F277702 8/19/10l Avon, IN Southern District of Indiana
298 : 5 +
115 Dabney Or., Wytheville, Virginia 24382
Umberger, Terri United States 2008 Chevy Cobalt 1G1AK18F987180037 5/4/14 Wytheville, VA Western District of Virginia
299
311 S San Gabriel Ave, San Antonio, Texas
Vasquez, Leticia 78237 United States 2004 Saturn jon 1G8AW12F142160273 8/18/13] San Antonio, TX Western District of Texas

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No. Name of P idency Car Type VIN # incident Date} Accident City/State US Dist Court
300 .
P.O. Box 25427, Dayton, Ohio 45424 United
Vaughn, Anthony States 2007 Pontiac G6 1622H35N374190292 9/6/12) Bath, OH Southern District of Ghio
301 ;
19050 Stratford Rd Apt 302, Minneponka,
Villcheck, Debra Minnesota 55345 United States 2606 Saturn ion 1G8AL55B76Z179915 2/21/14|Minneponka, MN District of Minnesota
302
115 Ironwood Dr., Roanoke Rapids, North
Vinson, Danny Carolina 27870 United States 2006 Chevy Cobalt 1G1AL15F277360265 10/15/13}Chesapeake, VA Eastern District of Virginia
303 .
4717 Berrige Lane, Dallas, Texas 75227
Wade, Wesley United States 2006 Chevy HHR 3GNDA13D06$641886 5/5/4131 Dallas, TX Northern District of Texas
304
210 Medical Arts Dr Apt B, Sandersville,
Walker, Jermaine Devontia Georgia 31082 United States 2006 Chevy Cobait IG1AKS5F0678840 10/7/13] Sandersville, GA Middle District of Georgia
305 1
800 Wilson Ave., Valdosta, Georgia 31602
Waiker, Shane United States 2005 Chevy Cobalt 1G1A52F357588932 6/26/11 jennings, FL Middle District of Florida
306 .
13546 Eldridge Trace Drive, Houston, Texas
Ward, Mary 77083 United States 2007 Chevy HHR 3gnda33p17s572892 5/26/13} Houston, TX Southern District of Texas
307
207 Banks Station, Fayetteville, Georgia
Ward, Michelle 30214 United States 2004 Saturn lon 1G8AY12P042213782 8/1/12i Fayetteville, GA Northern District of Georgia
308
8878 W. Wood Rd., Pittsburg, Pennsylvania Western District of
Ward-Green, Lakisha 15235 United States 2007 Chevy Cobalt 1G1AKS5F077 105429 9/3/10) Pittsburgh, PA Pennsylvania
309
320 South 15th Street, Harrisburg, Middle Cistrict of
Washington, Michael Pennsylvania 17104 United States 2007 Saturn lon 1G8AZS55F86Z154670 1/4/10| Harrisburg, PA Pennsylvania
310
106 N Burger Parkway Apt 212, Fond Ou
Westemeler, Ryan Lac, Wisconsin 54935 United States 2009 Chevy Cobalt IGLATS8H497 244654 2/27/13|Fond Du Lac, WI Eastern District of Wisconsin
341
44N. Mulberry St., Chillicothe, Ohio 45601
White, Tabitha Ashley United States 2007 Chevy HHR 3CNDA13D178597768 4/21/14) Chillicothe, OH Southern District of Ohio
312
White, Tabitha Ashley individually, and as 144 N. Mulberry St, Chillicothe, Ohio 45601
Next Friend of Robert Harris United States 2007 Chevy HHR 3CNDA13D175597768 4/21/14: Chillcothe, OH Southern District of Ohio
313 &
44N, Mulberry St, Chillicothe, Ohio 45601
White, Teresa United States 2007 Chevy HHR 3CNDA13D175597768, 4/21/14| Chillicothe, OH Southern District of Ohio
314 -
504 CR 263 Loop, Cameron, Texas 76520
Williams, Canitra United States 2009 Chevy Cobalt 1G1ATS8H897 263692 13/25/12] Branchville, TX Western District of Texas
315 soe
Williams, Canitra Individually, and as Next [504 CR 263 Loop, Carneron, Texas 76520
Friend of Lacrissa Williams United States 2009 Chevy Cobalt 1G1ATS8H897 263692 11/25/12| Branchville, TX Western District of Texas
316
501 Swan Or Apt 203, Athens, Alabama
Williams, Charles 35611 United States 2006 Chevy HHR 3GNDA130365511889 3/15/12} Athens, AL Northern District of Alabama
317
4500 Logan St., Jacksonville, Florida 32209
Williams, Edward United States 2008 Chevy HHR 3GNEA130685544601 8/28/13) Jacksonville, FL Middle District of Florida
318
1335 Half Street, Washington, District of
Williaens, Gloria Columbia 20024 United States 2006 Saturn ton 1IG8AL58BX6Z168791 4/3/14] Washington, DC District of Columbia
219 - . : :
Williams, Jekerrius Individually, and as Next [1095 Villarica Court Apt A, Birmingham,
Friend of Jayla Williams Alabama 35215 United States 2005 Chevy Cobalt IGIAK52F457564884 4/6/11) Birmingham, AL Northern District of Alabarna
320 .
Williams, Jekerrius Individually, and as Next /1095 Villarica Court Apt A, Birmingham,
Friend of Jekerrius Williams ir Alabama 35215 United States 2008 Chevy Cobalt IGIAK52F4575648384 4/6/11 Birmingham, AL Northern District of Alabama
321
626 Heritage Way, Cameron, North Carolina Eastern District of North
Williams, Jessica 28326 United States 2009 Chevy HHR 3GNCA53V795410599 3/1/13} Cameron, NC Carolina
322
510 1/2 Randolph Street, Charleston, West Southern District of West
Williams, Katie Virginia 25302 United States 2008 Pontiac G6 1G22F57B384 266533 4/11/14iCharleston, WV Virginia

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No. Name of Plai Residency Car Type VIN # incident Date| Accident City/State US Dist Court
323
228 3rd Ave. South, Kirkland, Washington Western District of
Williams, Pat 98033 United States 2007 Chevy Cobait IGIALS5F477 278920 3/2/14) Snohomish, WA Washington
324 -
2109 Faulk Dr., Talahassee, Florida 32303
Williams, Roxana United States 2003 Saturn fon TG8AL52F 132141275 5/2/12|Perry, FL Northern District of Florida
325 . . vei
AGOS Tipsy Circle Apt 105, Louisville,
Williams, Tanjan Kentucky 40216 United States 2007 Chevy Cobalt 1GIAKSSF177410826 4/15/42| Louisville, KY Western District of Kentucky
326 . . cert
204 E. Railroad St., Gulfport, Mississippi Southern District of
Williamson, Mary 39507 United States 2009 Chevy HHR 3GNCA23B39S543472 6/23/13) Biloxi, MS Mississippi
327
1310 French Rd., Byhalia, Mississippi 38611 Western District of
Wilson, John United States 2008 Chevy Cobalt 1G1AK58F687185056 10/24/13] Memphis, TN Tennessee
328 . .
4038 Suzan Drive, Anderson, Indiana 46013
Woodall, Martha United States 2008 GMC Acadia 1GKER2372832238314 9/27/10| Washington, IN Southern District of Indiana
329 |
5235 4th St., Baltimore, Maryland 21225
Wright, Dawn United States 2003 Saturn lon 1G8AG52F437106363 8/21/12] Anne Arundel, MD District of Maryland
330 -
P.O. Box 627, Clevand, Geargia 30528
Young, Philip United States 2006 Chevy Cobalt IG1AKS5F167681478 11/16/11|Gainesville, GA Northern District of Georgia

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